      Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 1 of 56




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


FEDERAL TRADE COMMISSION,

                      Plaintiff,
                                         Civil Action No. 1:20-cv-03589 (JEB)
                 v.

FACEBOOK, INC.

                      Defendant.




  PLAINTIFF FEDERAL TRADE COMMISSION’S MEMORANDUM OF LAW IN
   OPPOSITION TO DEFENDANT FACEBOOK, INC.’S MOTION TO DISMISS
                  Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 2 of 56




                                                             Table of Contents
Table of Authorities ....................................................................................................................... iii
INTRODUCTION .......................................................................................................................... 1
BACKGROUND ............................................................................................................................ 3
     A. Instagram Acquisition .......................................................................................................... 3
     B. WhatsApp Acquisition ......................................................................................................... 4
     C. Facebook Platform ............................................................................................................... 5
LEGAL STANDARD..................................................................................................................... 6
ARGUMENT .................................................................................................................................. 6
I.      THE FTC’S COMPLAINT STATES A CLAIM OF MONOPOLIZATION......................... 6
     A. The Complaint’s Allegations Establish that Facebook Possesses Monopoly Power in PSN
     Services in the United States ....................................................................................................... 7
        1. The Complaint’s Allegations Establish that PSN Services in the United States
        Constitute a Relevant Market .................................................................................................. 8
        2.        Facebook’s Criticisms of the Complaint’s Relevant Market Allegations Fail............... 10
             a) Facebook’s Assertion that It Provides PSN Services “Free and In Unlimited
             Quantities” Provides No Basis for Dismissal .................................................................... 11
             b) The FTC’s Complaint Is Not Required to Plead a Method of Quantifying Cross-
             Elasticity of Demand.......................................................................................................... 12
             c) Facebook’s Claim that PSN Services Are Reasonably Interchangeable with Other
             Services Disputes the Complaint’s Factual Allegations .................................................... 13
             d)     Facebook’s Remaining Arguments Fail to Undermine the Relevant Market ............ 15
        3. The Complaint’s Allegations Establish Facebook Possesses a Dominant Share of the
        Relevant Market that Is Protected by Entry Barriers ............................................................. 17
     B. The Complaint Details How Facebook Has Maintained Its Monopoly Position Through an
     Anticompetitive Course of Conduct .......................................................................................... 20
        1. The Complaint Alleges that Facebook Maintained Its Monopoly Through the
        Acquisitions of Instagram and WhatsApp ............................................................................. 21
             a) Facebook’s Acquisitions of Instagram and WhatsApp Constitute Anticompetitive
             Conduct .............................................................................................................................. 21
             b) The Complaint Provides Detailed Allegations that Facebook’s Acquisitions of
             Instagram and WhatsApp Caused Anticompetitive Effects............................................... 23
             c) Prior HSR Review Does Not Bar this Action or Create a Heightened Pleading
             Standard ............................................................................................................................. 27



                                                                           i
              Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 3 of 56




         d) Section 2 Provides an Independent Basis for Challenging the Acquisitions of a
         Monopolist ......................................................................................................................... 29
      2. The Complaint Alleges that Facebook Maintained Its Monopoly Through Its Platform
      Policies................................................................................................................................... 31
         a)     Facebook’s Platform Policies Constitute Unlawful Conditional Dealing .................. 31
         b)     Facebook’s Platform Conduct Is Also Actionable Under Trinko and Aspen ............. 34
         c)     Facebook Inaccurately Claims that Courts Have Ruled on Its Platform Conduct ..... 37
II. THE COMPLAINT ESTABLISHES THE FTC’S AUTHORITY TO FILE THIS SUIT ... 38
   A. Section 13(b) Empowers the FTC to Sue in Federal Court When the Commission “Has
   Reason to Believe” a Defendant Is Violating the Law.............................................................. 39
   B. The Complaint Alleges an Ongoing Monopolization Offense .......................................... 41
CONCLUSION ............................................................................................................................. 45




                                                                        ii
            Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 4 of 56




                                                           Table of Authorities
CASES

2301 M Cinema LLC v. Silver Cinemas Acquisition Co., 342 F. Supp. 3d 126

      (D.D.C. 2018) .......................................................................................................17, 18

Ashcroft v. Iqbal, 556 U.S. 662 (2009) ................................................................................6

Aspen Skiing Co. v. Aspen Highlands Skiing Corp., 472 U.S. 585 (1985) ......34, 35, 36, 37

Ball Mem’l Hosp., Inc. v. Mut. Hosp. Ins., Inc., 784 F. 2d 1325 (7th Cir. 1986) ........19, 34

Behrend v. Comcast Corp., 2012 WL 1231794 (E.D. Pa. Apr. 12, 2012).........................30

Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007) ..........................................................6, 13

Bd. of Trade v. CFTC, 605 F.2d 1016 (7th Cir. 1979) ......................................................40

Boise Cascade Corp. v. FTC, 498 F. Supp. 772, 779 (D. Del. 1980) ................................40

BRFHH Shreveport, LLC v. Willis Knighton Med. Ctr., 176 F. Supp. 3d 606

        (W.D. La. 2016) ................................................................................................26, 30

Broadcom Corp. v. Qualcomm Inc., 501 F.3d 297 (3d Cir. 2007) ....................................25

Brooke Grp. Ltd. v. Brown & Williamson Tobacco Corp., 509 U.S. 209 (1993)..............26

Brown Shoe Co. v. United States, 370 U.S. 294 (1962) ............................................8, 9, 12

Brown v. Gov’t of D.C., 390 F. Supp. 3d 114 (D.D.C. 2019) ............................................13

California v. Am. Stores Co., 495 U.S. 271 (1990) ...........................................................43

City of Anaheim v. S. Cal. Edison Co., 955 F.2d 1373 (9th Cir. 1992) .............................20

Cmty. Publishers, Inc. v. Donrey Corp., 892 F. Supp. 1146 (W.D. Ark. 1995) ................12

CollegeNet, Inc. v. Common Application, Inc., 355 F. Supp. 3d 926 (D. Or. 2018) .........10

Concord Boat Corp. v. Brunswick Corp., 207 F.3d 1039 (8th Cir. 2000) ........................44




                                                                    iii
            Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 5 of 56




Consultants & Designers, Inc. v. Butler Serv. Grp., Inc., 720 F.2d 1553

       (11th Cir. 1983).........................................................................................................37

Cont’l Ore Co. v. Union Carbide & Carbon Corp., 370 U.S. 690 (1962) ........................21

Covad Commc’ns Co. v. Bell Atl. Corp., 398 F.3d 666 (D.C. Cir. 2005)..............31, 32, 33

Dresses for Less, Inc. v. CIT Grp./Commercial Services, Inc., 2002 WL 31164482

       (S.D.N.Y. Sept. 30, 2002) .........................................................................................25

Eastman v. Quest Diagnostics Inc., 2016 WL 1640465 (N.D. Cal. Apr. 26, 2016),

       724 Fed. App’x 556 (9th Cir. 2018) ..................................................................26, 28

Facebook, Inc. v. Power Ventures, Inc., 2010 WL 3291750

       (N.D. Cal. July 20, 2010) .........................................................................................38

FTC v. AbbVie Inc., 976 F.3d 327 (3d. Cir. 2020).............................................................17

FTC v. Accusearch, Inc., 570 F.3d 1187 (10th Cir. 2009).................................................45

FTC v. Actavis, Inc., 570 U.S. 136 (2013) ...................................................................24, 33

FTC v. Arch Coal, Inc., 329 F. Supp. 2d 109 (D.D.C. 2004) ............................................14

FTC v. CCC Holdings, Inc., 605 F. Supp. 2d 26 (D.D.C. 2009) .......................................10

FTC v. Hornbeam Special Situations, LLC, 391 F. Supp. 3d 1218 (N.D. Ga. 2019) ........39

FTC v. Nat’l Urological Grp., Inc., 2006 WL 8431977 (N.D. Ga. Jan. 9, 2006) .............40

FTC v. OSF Healthcare Sys., 852 F. Supp. 2d 1069 (N.D. Ill. 2012) ...............................18

FTC v. Qualcomm Inc., 969 F.3d 974 (9th Cir. 2020).......................................................41

FTC v. RAG Stiftung, 436 F. Supp. 3d 278 (D.D.C. 2020) ................................................14

FTC v. Shire ViroPharma, Inc., 917 F.3d 147 (3d Cir. 2019) .....................................40, 41

FTC v. Staples, Inc., 190 F. Supp. 3d 100 (D.D.C. 2016) .................................................16

FTC v. Surescripts, LLC, 424 F. Supp. 3d 92 (D.D.C. 2020) ......................................25, 41



                                                                    iv
           Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 6 of 56




FTC v. Vyera Pharm., LLC, 479 F. Supp. 3d 31 (S.D.N.Y. 2020) ........................39, 41, 45

FTC v. W.Meat Co., 272 U.S. 554 (1926) .........................................................................43

Gottesman v. Gen. Motors Corp., 414 F.2d 956 (2d Cir. 1969) ........................................43

Hicks v. PGA Tour, Inc., 897 F.3d 1109 (9th Cir. 2018) ...................................................15

Hughes v. Abell, 634 F. Supp. 2d 110 (D.D.C. 2009)..........................................................6

In re Sanctuary Belize, 482 F. Supp. 3d 373 (D. Md. 2020) .............................................45

In re Thalomid & Revlimid Antitrust Litig., 2015 WL 9589217

     (D.N.J. Oct. 29, 2015) ...........................................................................................34, 36

Jacobs v. Tempur-Pedic Int’l, Inc., 626 F.3d 1327 (11th Cir. 2010) .................................15

Lenox MacLaren Surgical Corp. v. Medtronic, Inc., 762 F.3d 1114 (10th Cir. 2014)......19

LePage’s Inc. v. 3M, 324 F.3d 141 (3d Cir. 2003) ................................................20, 22, 24

Lorain Journal Co. v. United States, 342 U.S. 143 (1951)........................................ passim

Madison 92nd St. Assocs., LLC v. Courtyard Mgmt. Corp., 624 F. App’x 23

     (2d Cir. 2015) .......................................................................................................14, 15

McWane, Inc. v. FTC, 783 F.3d 814 (11th Cir. 2015) .......................................................25

Morris Commc’ns Corp. v. PGA Tour, Inc., 364 F.3d 1288 (11th Cir. 2004)...................37

Nat’l ATM Council, Inc. v. Visa Inc., 922 F. Supp. 2d 73 (D.D.C. 2013) .........................26

O’Bannon v. Nat'l Collegiate Athletic Ass’n, 7 F. Supp. 3d 955 (N.D. Cal. 2014) ...........11

O’Bannon v. Nat'l Collegiate Athletic Ass’n, 802 F. Supp. 3d 1049 (9th Cir. 2015) ........11

Ohio v. Am. Express Co., 138 S. Ct. 2274 (2018) .............................................................14

Queen City Pizza, Inc. v. Domino’s Pizza, Inc., 124 F.3d 430 (3d Cir. 1997) ..................14

RealPage, Inc. v. Yardi Sys., Inc., 852 F. Supp. 2d 1215 (C.D. Cal. 2012).................10, 13

Rebel Oil Co. v. Atl. Richfield Co., 51 F.3d 1421 (9th Cir 1995) ......................................18



                                                                    v
            Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 7 of 56




Reveal Chat Holdco LLC v. Facebook, Inc., 471 F. Supp. 3d 981 (N.D. Cal. 2020) ..38, 44

Rochester Drug Co-op., Inc. v. Braintree Labs., 712 F. Supp. 2d 308

      (D. Del. 2010) .............................................................................................................20

Rothery Storage & Van Co. v. Atlas Van Lines, Inc., 792 F.2d 210

      (D.C. Cir. 1986) ..........................................................................................................29

Sambreel Holdings LLC v. Facebook, Inc., 906 F. Supp. 2d 1070

      (S.D. Cal. 2012) ..........................................................................................................38

Search v. Uber Techs., Inc., 128 F. Supp. 3d 222 (D.D.C. 2015) .....................................11

Standard Oil Co. v. FTC, 449 U.S. 232 (1980) .................................................................40

Standard Oil Co. v. FTC, 596 F.2d 1381 (9th Cir. 1979) ..................................................40

Standard Oil Co. v. United States, 221 U.S. 1 (1911) .............................................1, 22, 23

Steves & Sons, Inc. v. JELD-WEN, Inc., 988 F.3d 690 (4th Cir. 2021).............................28

Steward Health Care Sys., LLC v. Blue Cross & Blue Shield of Rhode Island,

      311 F. Supp. 3d 468 (D.R.I. 2018) .............................................................................37

Sun Newspapers, Inc. v. Omaha World-Herald Co., 713 F.2d 428 (8th Cir. 1983) ..........22

Texaco Inc. v. Dagher, 547 U.S. 1 (2006) .........................................................................28

Todd v. Exxon Corp., 275 F.3d 191 (2d Cir. 2001) .....................................................10, 15

United States v. Aetna, 240 F. Supp. 3d 1(D.D.C. 2017) ..................................................14

United States v. Anthem, Inc., 236 F. Supp. 3d 171 (D.D.C. 2017) ..................................18

United States v. Anthem, Inc., No. 1:16-cv-1493 (D.D.C. Sept. 30, 2016) .................15, 16

United States v. Anthem, Inc., Order Adopting R. & R. No. 4 (ECF No. 189),

      No. 1:16-cv-1493 (D.D.C. Oct. 14, 2016) ..................................................................16




                                                                     vi
             Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 8 of 56




United States v. Anthem, Inc., R. & R. No. 4 of the Special Master (ECF No. 172),

        No. 1:16-cv-1493 (D.D.C. Sept. 30, 2016) ...............................................................15

United States v. Dentsply, 399 F.3d 181 (3d Cir. 2005) ....................................................24

United States v. E.I. du Pont de Nemours & Co., 351 U.S. 377 (1956) ..............................7

United States v. E. I. du Pont de Nemours & Co., 353 U.S. 586 (1957) ..........................43

United States v. Grinnell Corp., 384 U.S. 563 (1966) ............................................... passim

United States v. H&R Block, Inc., 833 F. Supp. 2d 36 (D.D.C. 2011) ..............8, 11, 13, 14

United States v. ITT Continental Baking Co., 420 U.S. 223 (1975) ............................43, 44

United States v. Microsoft Corp., 84 F. Supp. 2d 9 (D.D.C. 1999) ...................................23

United States v. Microsoft Corp., 253 F.3d 34 (D.C. Cir. 2001) .............................. passim

United States v. Schine, 260 F.2d 552 (2d Cir. 1958) ........................................................43

United States v. Village Voice Media, LLC, No. Civ.A. 1:03 CV 0164, 2003 WL 21659092

        (N.D. Ohio Feb. 12, 2003) ........................................................................................12

U.S. Anchor Mfg. v. Rule Indus., 7 F.3d 986 (11th Cir. 1993) ..........................................12

Verizon Commc’ns Inc. v. Law Offices of Curtis V. Trinko LLP,

        540 U.S. 398 (2004) ......................................................................................... passim

Viamedia, Inc. v. Comcast Corp., 951 F.3d 429 (7th Cir. 2020) .................................36, 37

Z Techs. Corp. v. Lubrizol Corp., 753 F.3d 594 (6th Cir. 2014) ......................................44



STATUTES AND RULES

7 U.S.C. § 12a(9) ...............................................................................................................40




                                                                     vii
            Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 9 of 56




Clayton Act

    §7, 15 U.S.C. §18 ...................................................................................................25, 43

    §7A(f), 15 U.S.C. § 18a(f) ...........................................................................................27

    §7A(i)(1), 15 U.S.C. § 18a(i)(1) ........................................................................2, 27, 28

Federal Trade Commission Act

    §5(a), 15 U.S.C. § 45(a) ...........................................................................................1, 38

    §5(b), 15 U.S.C. § 45(b) ..............................................................................................40

    §13(b), 15 U.S.C. § 53(b) ......................................................................2, 38, 39, 40, 41

Hart-Scott-Rodino Antitrust Improvements Act of 1976,

       Pub. L. No. 94-435, 90 Stat. 1383 ............................................................... 27, 28, 29

Sherman Act §2, 15 U.S.C. § 2 .................................................................................. passim

Telecommunications Act of 1996, Pub. L. No. 104-104, 110 Stat. 56 ..............................29



COURT FILINGS

Complaint, FTC v. Cardinal Health, Inc., No. 15-cv-3031

       (S.D.N.Y. Apr. 20, 2015) ..........................................................................................28

Complaint, United States v. Parker-Hannifin Corp., No. 1:17-cv-01354-UNA

       (D. Del. Sept. 26, 2017) ............................................................................................28



ADMINISTRATIVE MATERIALS

U.S. Dep’t of Justice & Fed. Trade Comm’n, Horizontal Merger Guidelines

      (2010) ...............................................................................................................7, 18, 26




                                                                     viii
           Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 10 of 56




LEGISLATIVE MATERIALS

S. Rep. No. 81-1775 (1950) ...............................................................................................29



OTHER MATERIALS

C. Scott Hemphill & Tim Wu, Nascent Competitors,

       168 U. Pa. L. Rev. 1879 (2020) ................................................................................30

Howard A. Shelanski, Information, Innovation, and Competition Policy for the Internet,

       161 U. Pa. L. Rev. 1663 (2013) ..................................................................................7

Phillip E. Areeda & Herbert Hovenkamp, Antitrust Law: An Analysis Of Antitrust Principles

       And Their Application (4th ed. 2020) ...........................................................21, 24, 26




                                                                 ix
        Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 11 of 56




                                        INTRODUCTION

       The Court should deny Facebook’s Motion to Dismiss because the Federal Trade

Commission’s Complaint states a claim that Facebook holds monopoly power over personal

social networking (“PSN”) services in the United States, and is violating the antitrust laws by

maintaining its monopoly through means other than competition on the merits. The Complaint

describes in detail Facebook’s unlawful course of conduct, which includes acquiring competitive

threats and deterring or hindering the emergence of rivals by imposing anticompetitive

conditions on its trading partners. This conduct violates Section 2 of the Sherman Act, 15 U.S.C.

§ 2, and thus constitutes an unfair method of competition in violation of Section 5(a) of the FTC

Act, 15 U.S.C. § 45(a).

       Facebook is one of the largest and most profitable companies in the history of the world.

Facebook reaps massive profits from its PSN monopoly, not by offering a superior or more

innovative product but because it has, for nearly a decade, taken anticompetitive actions to

neutralize, hinder, or deter would-be competitors. For more than a century, courts have

condemned monopolists under Section 2 of the Sherman Act for resorting to similar

anticompetitive practices to maintain their dominance. See, e.g., United States v. Grinnell Corp.,

384 U.S. 563 (1966) (anticompetitive practices included acquiring rivals); Standard Oil Co. v.

United States, 221 U.S. 1 (1911) (same); Lorain Journal Co. v. United States, 342 U.S. 143

(1951) (refusal to deal with trading partners who dealt with monopolist’s rival); United States v.

Microsoft Corp., 253 F.3d 34 (D.C. Cir. 2001) (contractual conditions on trading partners to

eliminate risk that nascent threats might erode entry barrier).

       Disregarding such plain precedents, Facebook claims that this case should be dismissed

before it even begins. It asserts that the FTC has failed to adequately allege that Facebook has




                                                  1
         Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 12 of 56




maintained monopoly power and harms consumers, or alternatively that the FTC should bring

this action through an administrative proceeding rather than in this forum. Neither argument has

merit. Facebook’s first argument fails because the Complaint’s factual allegations establish that

PSN services in the United States are not reasonably interchangeable with other services and thus

constitute a relevant antitrust market, see infra § I.A.1-2; that Facebook controls a dominant

share of this market and is protected by significant entry barriers, see infra § I.A.3; and that it has

maintained its dominant position through anticompetitive means, see infra § I.B. These

allegations must be credited, and Facebook cannot prevail by disputing their veracity, nor by

demanding that the FTC identify in its Complaint the specific evidence that the FTC will use at

trial to prove its claims.

        Facebook’s argument that the FTC lacks authority to bring this suit likewise fails.

Section 13(b) of the FTC Act provides the FTC with statutory authority to bring suit in this Court

because the Complaint’s allegations establish that the FTC has determined that it “has reason to

believe” that Facebook “is violating” the antitrust laws. 15 U.S.C. § 53(b); see infra § II.

Facebook’s suggestion to the contrary disregards the language of Section 13(b) and ignores clear

authority interpreting the statute. See infra § II.

        Facebook’s unavailing arguments are in no way enhanced by its repeated observation that

the FTC could have challenged its acquisitions of Instagram and WhatsApp at an earlier

juncture. Congress has explicitly provided that the FTC need not challenge an acquisition at its

first opportunity to do so; instead, the FTC can challenge an acquisition “at any time” under any

“provision of law.” 15 U.S.C. § 18a(i)(1). Moreover, the FTC challenges an ongoing course of

monopoly maintenance that includes not only Facebook’s elimination of competitive threats

through acquisition, but also the anticompetitive conditions that hindered other potential rivals.




                                                      2
         Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 13 of 56




                                          BACKGROUND

        PSN services enable and are used by people to maintain personal relationships and share

experiences with friends, family, and other personal connections in a shared social space.

Compl. ¶ 52. After first launching on college campuses in 2004, Facebook expanded to the

general public within a few years, and attained a dominant market share in PSN services in the

United States no later than 2011, which it has maintained ever since. Id. ¶¶ 3, 41, 62, 64.

        Facebook’s dominant market position in PSN services is protected by formidable barriers

to entry. Facebook benefits from substantial direct network effects: because a core purpose of

PSN services is connecting and engaging with personal connections, it is very difficult for a new

entrant to displace an established PSN service in which users’ friends and family already

participate. Id. ¶ 65. Facebook’s position is also protected by switching costs, because of the

time and effort that users invest in developing a history and connections on the service. Id. ¶ 66.

        Since achieving monopoly power, Facebook has defended its position through years of

anticompetitive conduct. Id. ¶¶ 5, 9, 71. With its monopoly position at risk as users shifted their

online behavior from desktop PCs to mobile phones, Facebook navigated this period of

transition—and has maintained its PSN services monopoly ever since—not by competing on the

merits, but rather through a course of anticompetitive conduct that includes acquiring Instagram

and WhatsApp, and imposing and enforcing anticompetitive conditions on access to Facebook’s

valuable platform interconnections. Id.

   A.      Instagram Acquisition

        Shortly after Instagram—a mobile-first, photo-centric PSN provider—launched in

October 2010, Facebook executives identified the service as a key competitive threat. Compl. ¶¶

81-82. By September 2011, Facebook founder and CEO Mark Zuckerberg described Instagram




                                                 3
         Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 14 of 56




as “a large and viable competitor” presenting “a big strategic risk for us.” Id. ¶¶ 83-84. In

February 2012, Mr. Zuckerberg worried that “a huge number” of users were moving their

engagement away from Facebook to Instagram, and that Instagram was building a social network

that was competitive with Facebook’s. Id. ¶¶ 89-90. In explaining his rationale for pursuing

Instagram as an acquisition target, Mr. Zuckerberg explained to CFO David Ebersman that

“there are network effects around social products and a finite number of different social

mechanics to invent. Once someone wins at a specific mechanic, it’s difficult for others to

supplant them without doing something different.” Id. ¶ 91.

        Facebook announced its agreement to acquire Instagram in April 2012. By acquiring

Instagram, Facebook neutralized a singularly threatening PSN competitor, thereby depriving

users of the benefits of competition between the two companies, see, e.g., id. ¶¶ 98-99, and

making it harder for another firm to enter into PSN services. Id. ¶¶ 100-05.

   B.      WhatsApp Acquisition

        Following the Instagram acquisition, Facebook turned to what it considered “the next

biggest consumer risk” to its PSN services monopoly: the possibility that an app offering mobile

messaging services would enter the PSN services market. Compl. ¶¶ 17, 107. In particular,

Facebook executives identified a serious strategic threat in the form of mobile messaging apps

launching a spinoff PSN service or adding PSN features. Id. ¶¶ 18, 108-11.

        Facebook identified WhatsApp as the clear “category leader” in mobile messaging and as

the most significant threat in this regard. Id. ¶¶ 17, 19. Facebook’s own messaging app,

Facebook Messenger, was launched in 2011, but was already too far behind WhatsApp to

prevent WhatsApp from gaining scale. Id. ¶ 115-16. With Facebook’s “window of opportunity

to solve the messaging situation shrinking,” Facebook once again decided it was “better to buy




                                                 4
         Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 15 of 56




than compete.” Id. ¶¶ 20, 117. In 2014, Facebook acquired WhatsApp for $19 billion. Id. ¶¶

120-21. The acquisition neutralized WhatsApp as a nascent threat and thereby deprived, and

continues to deprive, users of the benefits of competition from an independent WhatsApp. Id. ¶¶

21, 126-27. As Facebook recognized, an independent WhatsApp (on its own or acquired by a

third party) would have the ability and incentive to enter the U.S. PSN services market, but under

Facebook’s control that competitive threat no longer exists. Id. Moreover, the acquisition makes

it harder for other mobile messaging apps to acquire scale and threaten to enter PSN services. Id.

   C.      Facebook Platform

        In 2007, Facebook launched “Facebook Platform,” a service allowing third-party apps to

interoperate and exchange certain information with Facebook, including via application

programming interfaces (“APIs”). Compl. ¶¶ 23, 129. Facebook Platform has proved highly

valuable to Facebook—with at times nearly one billion pieces of social data channeled back to

Facebook Blue each day. Id. ¶¶ 132-34. Facebook Platform also became an important

distribution channel for third-party apps, with features like the Find Friends API serving as a

valuable growth tool. Id. ¶¶ 130, 132, 135.

        Between 2011 and 2018, Facebook made Facebook Platform available to developers only

on the condition that their apps neither competed with Facebook nor promoted its competitors.

Id. ¶ 136. Facebook punished apps that violated these conditions by terminating their access to

the Find Friends API and other APIs. Id. ¶¶ 136, 152. Facebook’s terminations were directed

against promising competitive threats, including PSN apps, apps with some social functionality,

and mobile messaging services. Id. ¶¶ 153-54, 156. Facebook’s imposition and enforcement of

its anticompetitive conditions have served to hinder, suppress, and deter the emergence of threats

to its U.S. PSN services monopoly. Id. ¶ 159.




                                                 5
        Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 16 of 56




       Facebook’s illegal monopolization persists today. Facebook continues to hold and

operate Instagram and WhatsApp, which neutralizes them as direct competitive threats to

Facebook, and maintains a protective “moat” around its PSN services monopoly. Id. ¶ 76.

Facebook recognizes that so long as it maintains Instagram and WhatsApp operating at scale, it

will be harder for new firms to enter and build scale around their respective mechanics. Id.

                                      LEGAL STANDARD

       A motion to dismiss can be granted only if the FTC’s Complaint does not allege facts

that, if accepted as true, state a plausible claim for relief. Bell Atl. Corp. v. Twombly, 550 U.S.

544, 555-56 (2007). The Court does not need to determine whether the facts alleged are true to

deny a motion to dismiss. See id., at 556 (“Rule 12(b)(6) does not countenance . . . dismissals

based on a judge’s disbelief of a complaint’s factual allegations.”) (internal citation omitted).

Instead, the Court “should assume the[] veracity” of the Complaint’s factual allegations, Ashcroft

v. Iqbal, 556 U.S. 662, 678 (2009), which “should be liberally construed in [the FTC’s] favor.”

Hughes v. Abell, 634 F. Supp. 2d 110, 113 (D.D.C. 2009).

                                           ARGUMENT

I.     THE FTC’S COMPLAINT STATES A CLAIM OF MONOPOLIZATION

       The Complaint’s allegations establish that for nearly a decade Facebook has engaged in a

course of anticompetitive conduct to maintain a monopoly in PSN services in the United States,

in violation of Section 2 of the Sherman Act, 15 U.S.C. § 2. See Compl. ¶¶ 169-74. “The

offense of monopolization has two elements: ‘(1) the possession of monopoly power in the

relevant market and (2) the willful acquisition or maintenance of that power as distinguished

from growth or development as a consequence of a superior product, business acumen, or




                                                  6
         Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 17 of 56




historic accident.’” Microsoft, 253 F.3d at 50 (quoting Grinnell, 384 U.S. at 570-71). The

Complaint’s factual allegations establish both elements, and therefore state a claim.

   A.      The Complaint’s Allegations Establish that Facebook Possesses Monopoly
           Power in PSN Services in the United States

        The Complaint provides detailed allegations that Facebook possesses monopoly power in

the relevant market for PSN services in the United States. See Compl. ¶¶ 38-42, 51-67.

Monopoly power consists of “the power to control prices or exclude competition.” United States

v. E.I. du Pont de Nemours & Co., 351 U.S. 377, 391 (1956).

        While courts commonly find that “a firm is a monopolist if it can profitably raise prices

substantially above the competitive level,” Microsoft, 253 F.3d at 51, monopoly power can also

manifest in reduced non-price benefits—such as reduced product quality—that customers would

enjoy in a competitive market. See NorthBay Healthcare Grp., Inc. v. Kaiser Found. Health

Plan, Inc., 2020 WL 7233105, at *2 (9th Cir. Dec. 8, 2020) (defendant’s conduct “could, as

alleged, diminish the quality of services for the public and thus fall under the type of protection

the antitrust laws were intended to afford”); U.S. Dep’t of Justice & Fed. Trade Comm’n,

Horizontal Merger Guidelines, § 1 (Aug. 19, 2010) [hereinafter, Horizontal Merger Guidelines]

(“Enhanced market power can also be manifested in non-price terms and conditions . . .

including reduced product quality, reduced product variety, reduced service, or diminished

innovation.”); Howard A. Shelanski, Information, Innovation, and Competition Policy for the

Internet, 161 U. Pa. L. Rev. 1663, 1687 (2013) (“[A]nticompetitive conduct or transactions could

enable platforms to exercise market power to give customers less of the good things—improved

service, innovative products, and good privacy and data security policies[.]”). In other words, a

firm is a monopolist if—paralleling the language of Microsoft—it can profitably reduce non-

price consumer benefits below the competitive level. Cf. Microsoft, 253 F.3d at 51.



                                                 7
        Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 18 of 56




       The FTC has alleged facts establishing that Facebook possesses monopoly power.

Because “direct proof” that a defendant has monopoly power is “only rarely available,”

Microsoft, 253 F.3d at 51, monopoly power is more commonly established through indirect

proof—namely, it is “inferred from a firm’s possession of a dominant share of a relevant market

that is protected by entry barriers.” Id. Here, the Complaint includes allegations directly

describing Facebook’s ability to profitably reduce non-price benefits offered to users. See

Compl. ¶¶ 27, 98, 163. As discussed below, the Complaint also alleges, and provides detailed

facts, defining PSN services in the United States as a relevant antitrust market, see id. ¶¶ 51-60,

and establishing that Facebook possesses a dominant share in that market that is protected by

significant entry barriers. See id. ¶¶ 61-66.

       1.      The Complaint’s Allegations Establish that PSN Services in the United States
               Constitute a Relevant Market

       Facebook’s assertions that the Complaint does not adequately plead a relevant market are

unfounded. A relevant antitrust market has both a product and a geographic dimension. Brown

Shoe Co. v. United States, 370 U.S. 294, 324 (1962). A relevant product market is “a term of art

in antitrust analysis” that defines a set of products over which a firm could profitably exercise

monopoly power. United States v. H&R Block, Inc., 833 F. Supp. 2d 36, 50-51 (D.D.C. 2011)

(internal citation omitted). The outer boundaries of a relevant product market “are determined

by the reasonable interchangeability of use or the cross-elasticity of demand between the product

itself and substitutes for it.” Brown Shoe, 370 U.S. at 325; see also Microsoft, 253 F.3d at 51-52

(relevant product market consists of products that are “reasonably interchangeable by consumers

for the same purposes”).

       The Complaint alleges that PSN services are not “reasonably interchangeable” with other

services, which is supported by specific factual allegations regarding the distinct “characteristics



                                                 8
        Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 19 of 56




and uses” of PSN services. Brown Shoe, 370 U.S. at 323. PSN services are “online services that

enable and are used by people to maintain personal relationships and share experiences with

friends, family, and other personal connections in a shared social space.” Compl. ¶ 52.

       The Complaint provides detailed factual allegations regarding the distinct “uses” of PSN

services. In particular, the Complaint describes how PSN services “enable[] people to stay up to

date and share personal content with friends and family” and provide “a distinct and richer way

for people to maintain personal connections” compared to alternative forms of communication.

Compl. ¶ 39. The Complaint likewise provides detailed allegations describing key

“characteristics” that enable the distinct “uses” for which people employ PSN services: (1) a

social graph that maps connections between users and their friends, family, and other personal

connections, see id. ¶ 53; (2) features that facilitate interaction among a user’s personal

connections and the sharing of personal experiences in a shared social space, see id. ¶ 54; and (3)

features that leverage the social graph to help users to find other users with whom they may have

a personal connection, see id. ¶ 55.

       Finally, the Complaint identifies certain online services that are not suitable for the same

“uses” as PSN services, and explains why each “is distinct from, and not reasonably

interchangeable with,” PSN services. Compl. ¶ 57; see id. ¶ 58 (distinguishing professional

networking services such as LinkedIn); see id. (specialized, interest-based services); see id. ¶ 59

(video or audio consumption-focused services); see id. ¶ 60 (mobile messaging services).

       Contrary to Facebook’s characterizations, see Mem. in Supp. of Facebook, Inc.’s Mot. to

Dismiss FTC’s Compl., 18-19, ECF No. 56-1 [hereinafter Mem.], these allegations are not

conclusory, but instead are concrete factual allegations that plainly identify a relevant product

market. See Brown Shoe, 370 U.S. at 325 (“reasonabl[e] interchangeability of use,” inferred




                                                  9
        Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 20 of 56




from evidence including “peculiar characteristics and uses,” defines a relevant market);

Microsoft, 253 F.3d at 52 (upholding market definition after trial because purported alternatives

had fewer features, cost more, or “fell far short of performing all of the functions” of the

plaintiff’s proposed relevant product market). Courts routinely deny motions to dismiss

complaints that provide such allegations. See, e.g., RealPage, Inc. v. Yardi Sys., Inc., 852 F.

Supp. 2d 1215, 1224-25 (C.D. Cal. 2012) (motion to dismiss denied where complaint

distinguished “multiple conceivably interchangeable substitutes”); CollegeNet, Inc. v. Common

Application, Inc., 355 F. Supp. 3d 926, 958 (D. Or. 2018) (complaint “adequately considers and

rejects alternatives”); see also Todd v. Exxon Corp., 275 F.3d 191, 200-01 (2d Cir. 2001)

(collecting cases and noting that market definition “is a deeply fact-intensive inquiry” rarely

amenable to resolution on a motion to dismiss).

       The geographic component of a relevant market identifies the “geographic area in which

the defendants compete in marketing their products or services.” FTC v. CCC Holdings, Inc.,

605 F. Supp. 2d 26, 37 (D.D.C. 2009). Facebook does not dispute the sufficiency of the

allegations that the relevant geographic market is the United States. See Compl. ¶ 56.

       2.      Facebook’s Criticisms of the Complaint’s Relevant Market Allegations Fail

       Facebook attempts to attack the relevant market allegations by disputing the accuracy of

the allegations, injecting Facebook’s own factual assertions, inaccurately suggesting that antitrust

laws do not reach non-price harms, and demanding specific analyses that should await complete

fact discovery or expert opinion testimony. None of Facebook’s arguments have merit or

provide a basis for dismissing the Complaint.




                                                  10
         Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 21 of 56




               a) Facebook’s Assertion that It Provides PSN Services “Free and In
                  Unlimited Quantities” Provides No Basis for Dismissal

       Facebook’s assertion that it offers its product “free and in unlimited quantities,” Mem. 2,

5, provides no basis for dismissing the Complaint. First, Facebook cannot prevail on this motion

by injecting its own factual assertions. Search v. Uber Techs., Inc., 128 F. Supp. 3d 222, 228

(D.D.C. 2015) (“A motion to dismiss under Rule 12(b)(6) must rely solely on facts within the

four corners of the Complaint[.]”). The Complaint describes how PSN providers “have refrained

from charging a monetary price,” Compl. ¶ 42, but the FTC disputes, and the Complaint does not

indicate, that Facebook offers its services to users in “unlimited quantities” or for “free.”

Facebook offers PSN services to users with a nominal price of zero, but with non-price terms and

conditions that include the ability to monetize user data and engagement through advertising. Id.

       Second, the presence of a nominal price of “zero” in no way undermines the relevant

market allegations. Facebook’s assertion ignores the fact that sellers routinely compete to offer

attractive non-price terms and conditions, in addition to whatever price they charge. See supra at

7. Here, the Complaint alleges that PSN providers compete to offer attractive non-price terms,

see Compl. ¶ 42, and that Facebook’s monopolization harmed this competition. See, e.g., id. ¶¶

27, 28, 163, 167. It also ignores the fact that a nominal price of “zero” is still a price, and could

represent an “overcharge” compared with a competitive marketplace. See O’Bannon v. Nat'l

Collegiate Athletic Ass’n, 7 F. Supp. 3d 955, 972 (N.D. Cal. 2014), vacated in part on other

grounds, 802 F.3d 1049 (9th Cir. 2015) (price-fixing by defendants resulted in a zero-dollar price

for plaintiff student-athletes’ services, whereas the competitive price would have been higher).

       Antitrust laws reach non-price harm, see supra at 7, and relevant markets can be defined,

regardless of whether some or all of the products in the market are offered at a nominal price of

zero. See H&R Block, 833 F. Supp. 2d at 53 (market for “digital do-it-yourself” tax software



                                                  11
         Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 22 of 56




included products offered to consumers “in some instances free”); United States v. Village Voice

Media, LLC, 2003 WL 21659092, at *16 (N.D. Ohio Feb. 12, 2003) (merger of zero-price

alternative weekly newspapers harmed competition that previously provided readers with “better

editorial coverage” and “higher quality service”); Cmty. Publishers, Inc. v. Donrey Corp., 892 F.

Supp. 1146, 1153 n.8, 1170 (W.D. Ark. 1995) (recognizing market for local newspapers based

on evidence that the newspapers competed mostly on quality rather than price).

               b) The FTC’s Complaint Is Not Required to Plead a Method of Quantifying
                  Cross-Elasticity of Demand

       Facebook’s critique that the FTC fails to plead “‘cross-elasticity of demand’ or consumer

switching in response to price increases” finds no support under the law. Mem. 10. Despite

Facebook’s focus on price, Mem. 10-11, cross-elasticity of demand refers to the extent to which

customers switch between products in response to changes in prices or non-price terms, such as

quality changes. Cmty. Publishers, Inc., 892 F. Supp. at 1153 n.7 (cross-elasticity measures

effect of changes in “price or quality”).

       More fundamentally, a plaintiff does not need to quantify cross-elasticity to plead or

prove a relevant market. See Brown Shoe, 370 U.S. at 325 (relevant market boundaries

delineated by “reasonable interchangeability of use or the cross-elasticity of demand between the

product itself and substitutes for it”) (emphasis added); Microsoft, 253 F.3d at 52-53 (market

upheld after trial based on qualitative evidence of which products were “reasonably

interchangeable by consumers for the same purposes”). Indeed, even after trial, courts routinely

define relevant markets without quantifications of cross-elasticities of demand. Courts recognize

that cross-elasticity “is nearly impossible to measure numerically in all cases.” Cmty.

Publishers, Inc., 892 F. Supp. at 1161; accord U.S. Anchor Mfg. v. Rule Indus., 7 F.3d 986, 995

(11th Cir. 1993) (“[I]t is ordinarily quite difficult to measure cross-elasticities of supply and



                                                  12
         Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 23 of 56




demand accurately. Therefore, it is usually necessary to consider other factors that can serve as

useful surrogates for cross-elasticity data.”); H&R Block, 833 F. Supp. 2d at 62 (relevant market

established after trial despite “no direct, reliable data on diversion” existing).

       Here, the FTC may proffer expert testimony at trial demonstrating that a quantitative

cross-elasticity analysis supports the relevant market alleged in the Complaint. But at the

pleading stage, the FTC is not required to quantify cross-elasticities or to describe the methods

such expert testimony might employ, as “once a claim has been stated adequately, it may be

supported by showing any set of facts consistent with the allegations in the complaint.”

Twombly, 550 U.S. at 563.

               c) Facebook’s Claim that PSN Services Are Reasonably Interchangeable
                  with Other Services Disputes the Complaint’s Factual Allegations

       Facebook’s assertions that other services are substitutes for PSN services dispute the

Complaint’s factual allegations and are not a basis for dismissing the Complaint. Mem. 13. In

particular, Facebook asserts that the Complaint fails to provide sufficient allegations that

“exclude other alternatives” to PSN services, and asserts that PSN service features are “arbitrary”

and that “myriad online services” are not set apart enough from PSN services to be

“unacceptable substitutes.” Mem. 10-11, 14, 18-19. Yet these assertions are merely attempts to

dispute the accuracy of the Complaint’s factual allegations that consumers do not view these

“online services” as reasonable substitutes because PSN services provide distinct functionality

and characteristics. See supra § I.A.1. Accordingly, they are inappropriate for a motion to

dismiss. See Brown v. Gov’t of D.C., 390 F. Supp. 3d 114, 126 (D.D.C. 2019) (“A defendant

cannot ignore, or contradict, a complaint’s factual allegations in a bid to seek its dismissal[.]”);

RealPage, 852 F. Supp. 2d at 1225 (defendant’s claims that additional firms should be included




                                                  13
         Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 24 of 56




in the relevant market “turn on issues of fact inappropriate for resolution at this stage of the

litigation”).

        Further, even if one accepted, arguendo, Facebook’s assertions that other services

provide some functionality similar to PSN services, this would not undermine the Complaint’s

relevant market. Relevant markets routinely exclude products that have some functional

similarity to the products in the relevant market, because not all products with some functional

similarity are “reasonably interchangeable.” See, e.g., U.S. v. Aetna, 240 F. Supp. 3d 1, 41-42

(D.D.C. 2017) (relevant market for Medicare Advantage plans did not include Original

Medicare); H&R Block, 833 F. Supp. 2d at 58-59 (market for digital do-it-yourself tax return

software did not include alternative ways to complete a tax return, such as “pen and paper” and

assisted tax preparation). The Complaint here provides specific allegations—including

statements from Facebook’s own executives—distinguishing other services and describing PSN

services as a distinct way to remain in touch with friends and family. See Compl. ¶¶ 39, 60, 62.

This distinct value proposition delineates a relevant market.

        The cases Facebook cites are also readily distinguished. Many do not involve the

pleading standard at all. See, e.g., Ohio v. Am. Express Co., 138 S. Ct. 2274, 2283 (2018) (ruling

after full discovery and trial); FTC v. RAG Stiftung, 436 F. Supp. 3d 278, 289-90 (D.D.C. 2020)

(after full discovery and preliminary injunction hearing); FTC v. Arch Coal, Inc., 329 F. Supp.

2d 109, 114 (D.D.C. 2004) (same). Of the cases that were decided at the pleading stage, several

involve complaints that were dismissed because plaintiffs pleaded single-firm or single-brand

markets without providing factual allegations that distinguished the brands from alternatives.

See Queen City Pizza, Inc. v. Domino’s Pizza, Inc., 124 F.3d 430, 436-37 (3d Cir. 1997)

(rejecting single-brand market for Domino’s Pizza franchises); Madison 92nd St. Assocs., LLC v.




                                                 14
        Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 25 of 56




Courtyard Mgmt. Corp., 624 F. App’x 23, 28-29 (2d Cir. 2015) (rejecting single-brand market

for Marriott hotels); cf. Todd, 275 F.3d at 200 n.3 (collecting cases). Here, the Complaint does

not allege that PSN is a single-brand market limited to Facebook. See Compl. ¶¶ 3, 38, 41-42,

63-64, 153.

       And none of Facebook’s cited cases involved detailed allegations, like senior executive

statements, see Compl. ¶¶ 60, 62, describing the relevant product’s distinguishing characteristics

and uses, and differentiating potential alternatives. See Hicks v. PGA Tour, Inc., 897 F.3d 1109,

1122 (9th Cir. 2018) (complaint alleged a narrow market of advertising on golf caddie bibs

without pleading specific facts distinguishing other forms of advertising); Jacobs v. Tempur-

Pedic Int’l, Inc., 626 F.3d 1327, 1338 (11th Cir. 2010) (dismissing complaint due to “skimpy

allegations” asserting, “without elaboration, that ‘[v]isco-elastic foam mattresses comprise a

relevant product market . . . separate and distinct from the market for mattresses generally”).

               d) Facebook’s Remaining Arguments Fail to Undermine the Relevant
                  Market

       Facebook makes several other arguments in passing, which likewise provide no basis for

dismissing the Complaint. First, Facebook protests that the Complaint does not individually

address whether a variety of online service providers, such as Pinterest and TikTok, provide PSN

services. Mem. 14. In fact, the Complaint identifies other providers of PSN services. See

Compl. ¶¶ 38, 41, 63, 153. In demanding more, Facebook conflates notice pleading with later

phases of litigation. Antitrust plaintiffs need not provide precise market boundaries and market

shares even during fact discovery, as such specificity typically requires expert opinion testimony

provided after fact discovery. See, e.g., R. & R. No. 4 of the Special Master at 13-14, U.S. v.

Anthem, Inc., No. 1:16-cv-1493 (D.D.C. Sept. 30, 2016), ECF No. 172 (recommending denial of

motion to compel revelation of “market share calculations and the methodology used to reach



                                                15
        Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 26 of 56




those calculations” prior to expert report); Order Adopting R. & R. No. 4, id. (D.D.C. Oct. 14,

2016), ECF No. 189 (denying motion in relevant part).

       Second, Facebook suggests the Complaint “leads to two mutually exclusive conclusions”

because Facebook offers services other than PSN services. Mem. 16-17. As an initial matter,

relevant markets are routinely defined to include less than everything a defendant sells. See

Microsoft, 253 F.3d at 52, 87-88 (defining a relevant market of operating systems despite

Microsoft also offering word processing software and browser); FTC v. Staples, Inc., 190 F.

Supp. 3d 100, 122-27 (D.D.C. 2016) (defining relevant market for office supplies that excluded

printer ink, toner, and other products that the defendants also sold). In those instances, providers

of services outside the relevant market are not treated as competitors for the relevant product,

even though the defendant also offers those out-of-market services. See Staples, 190 F. Supp. 3d

at 122-23 (ink and toner providers not in the relevant market).

       Facebook suggests that there may be complications in assessing or quantifying “use of

[PSN] – as distinct from other features – on Facebook.” Mem. 16-17. In doing so, Facebook

implies that the FTC must specify a method for quantifying how people allocate their usage of

Facebook and other PSN providers. Facebook’s arguments about how the FTC might handle

certain usage metrics at trial, which will be the subject of both fact and expert discovery, are not

a basis for a motion to dismiss. See supra (discussing Anthem discovery orders) & infra § I.A.3.

       Finally, Facebook asserts that the FTC’s market definition is “contradicted by its own

allegations” because some of the apps that Facebook targeted with its anticompetitive conduct

were not PSN providers. Mem. 2, 14-15. As Microsoft held, however, “[n]othing in § 2 of the

Sherman Act limits its prohibition to actions taken against threats that are already well-

developed enough to serve as present substitutes.” 253 F.3d at 54 (internal citation omitted). So




                                                 16
            Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 27 of 56




too here. There is nothing contradictory about the Complaint alleging PSN services as a relevant

market, while also pleading that Facebook maintained its monopoly by targeting out-of-market

firms to deter or hinder entry into PSN services.

        3.       The Complaint’s Allegations Establish Facebook Possesses a Dominant
                 Share of the Relevant Market that Is Protected by Entry Barriers

        Contrary to Facebook’s contention, Mem. 21-23, the Complaint’s factual allegations

establish, as the second step in providing indirect proof of monopoly power, that Facebook

possesses a dominant share in the U.S. PSN services market that is protected by significant entry

barriers.

        First, the Complaint provides specific factual allegations establishing Facebook’s

dominant share, including that it has held a market share in excess of 60% since at least 2011,

Compl. ¶ 64; that “no other social network of comparable scale exists in the United States,” id. ¶

3; that it has millions of users in the United States, id.; and that it has been “the number one

provider of personal social networking in the United States” since 2009, id. ¶ 41. Facebook does

not dispute that a market share “in excess of 60%” is high enough to allege monopoly power—

nor could it, as numerous courts have held that such a share, or even a lower share, is sufficient

for monopoly power. See, e.g., FTC v. AbbVie Inc., 976 F.3d 327, 373 (3d Cir. 2020) (shares

above 60%); 2301 M Cinema LLC v. Silver Cinemas Acquisition Co., 342 F. Supp. 3d 126, 140

(D.D.C. 2018) (shares as low as 54%).

        Instead, Facebook’s only criticism is that the Complaint does not “specify” how the FTC

arrived at the “in excess of 60%” market share figure, which Facebook suggests is problematic

because market shares for PSN services cannot be based on revenue. Mem. 21-22. As an initial

matter, plaintiffs and courts routinely measure market shares using metrics other than revenue,

such as the quantity of the product produced or consumed, when that is a better measure of



                                                 17
        Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 28 of 56




competitive significance in a particular market. See, e.g., 2301 M Cinema LLC v. Silver Cinemas

Acquisition Co., 342 F. Supp. 3d 126, 140 (D.D.C. 2018) (shares based on number of movie

theaters operated by each provider); United States v. Anthem, Inc., 236 F. Supp. 3d 171, 207-12

(D.D.C. 2017) (number of customers insured); FTC v. OSF Healthcare Sys., 852 F. Supp. 2d

1069, 1078 (N.D. Ill. 2012) (number of patient admissions and patient-days spent in hospital);

Horizontal Merger Guidelines § 5.2 (market shares may be based on quantity (unit sales),

capacity, and reserves, depending on the factual circumstances).

       The Complaint identifies a number of usage-related measures of PSN services, including

daily users and monthly users, Compl. ¶ 3, and time spent using the services, id. ¶ 97

(referencing “time on site”). See also id. ¶ 16 (“Facebook Blue has lost users and engagement to

Instagram[.]”). Facebook offers no legal authority for its suggestion that a complaint needs to

specify which of these or other metrics provides the best indication of a firm’s market share, and

Facebook’s demand for details on the “method” used to calculate Facebook’s share, Mem. 21-22,

is inappropriate in advance of expert discovery. See supra at 15-16 (citing U.S. v. Anthem, Inc.,

discovery orders).

       Second, the Complaint provides concrete factual allegations that the market for PSN

services in the United States is protected by “significant entry barriers” in the form of network

effects and switching costs. Compl. ¶¶ 65-66, 68-69. Entry barriers are “factors in the market

that deter entry while permitting incumbent firms to earn monopoly returns.” Rebel Oil Co. v.

Atl. Richfield Co., 51 F.3d 1421 (9th Cir. 1995).

       Here, the Complaint describes in detail how network effects and switching costs make

entry into PSN services difficult. See Compl. ¶¶ 6-8, 65-66, 68-69. It further alleges that

Facebook has had a sustained dominant share for nearly a decade, which itself suggests the




                                                18
        Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 29 of 56




difficulty of entry. See id. ¶¶ 1, 3, 41, 64. And the Complaint contains specific commentary

from Facebook’s CEO describing the strength of network effects. id. ¶¶ 14, 69, 76, 91.

       Facebook provides no authority suggesting that a motion to dismiss can succeed in the

face of such allegations. Indeed, Facebook’s argument finds no support from Ball Memorial

Hospital, Inc. v. Mutual Hospital Insurance, Inc., the only case it cites, which concluded after

“extensive findings of fact” that defendant’s high market share did not indicate market power

due to low entry barriers. 784 F. 2d 1325, 1331-35 (7th Cir. 1986).

       Further, Facebook inaccurately asserts that the Complaint’s conduct allegations are

inconsistent with the existence of entry barriers. Mem. 22. To the contrary, as the Complaint

describes, Instagram emerged as a PSN competitor during a specific period of technological

transition, see Compl. ¶¶ 6-8, 11, 78-79, and its emergence during that period does not

undermine the existence of entry barriers. See Lenox MacLaren Surgical Corp. v. Medtronic,

Inc., 762 F.3d 1114, 1125 (10th Cir. 2014) (“A single competitor’s breakthrough does not

preclude a finding of significant barriers to entry.”). Likewise, the fact that Facebook targeted

threats outside of the relevant market—including WhatsApp and firms targeted by its Platform

conduct—does not undermine the Complaint’s allegations of entry barriers, any more than it

undermines the Complaint’s market definition. See supra § I.A.2.d; Microsoft, 253 F. 3d at 51-

56 (finding both that Microsoft’s dominant position was “protected by a substantial entry

barrier” and that its anticompetitive conduct targeted out-of-market threats).

                                              *****

       In sum, the Complaint does more than is required to define a PSN services market and

allege that Facebook has monopoly power in it. Facebook evidently wants to allege its own




                                                19
         Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 30 of 56




facts, quibble with the facts alleged in the Complaint, or get a preview of expert opinions, but

that is no basis for dismissing the Complaint.

   B.      The Complaint Details How Facebook Has Maintained Its Monopoly Position
           Through an Anticompetitive Course of Conduct

     The Complaint also pleads in detail how Facebook has maintained its monopoly position

through anticompetitive conduct. Section 2 of the Sherman Act is the “provision of the antitrust

laws designed to curb the excesses of monopolists and near-monopolists.” LePage’s Inc. v. 3M,

324 F.3d 141, 169 (3d Cir. 2003). It condemns monopoly power maintained through

“exclusionary conduct ‘as distinguished from growth or development as a consequence of a

superior product, business acumen, or historic accident.’” Microsoft, 253 F.3d at 58 (quoting

Grinnell, 384 U.S. at 571).

        Rather than compete on the merits, Facebook has engaged in a nearly decade-long effort

to maintain its monopoly by acquiring actual or potential competitors, or suppressing and

deterring them by imposing and enforcing anticompetitive conditions on access to its Platform.

See Compl. ¶¶ 9, 16, 21, 24-26, 70, 73-77, 102, 105, 126-27, 136-37, 159. Facebook’s ongoing

course of anticompetitive conduct has three main elements—acquiring Instagram, acquiring

WhatsApp, and conditioning developers’ access to its Platform. See id. ¶¶ 9, 171.

        While each element is anticompetitive on its own, and this brief discusses each in turn,

Facebook’s conduct should not be compartmentalized; instead, the overall combined

anticompetitive effect of Facebook’s course of conduct must be considered. See City of Anaheim

v. S. Cal. Edison Co., 955 F.2d 1373, 1376 (9th Cir. 1992) (“[I]t would not be proper to focus on

specific individual acts of an accused monopolist while refusing to consider their overall

combined effect.”); Rochester Drug Co-op., Inc. v. Braintree Labs., 712 F. Supp. 2d 308, 319

(D. Del. 2010) (“[Courts] need not . . . analyze whether each facet of this scheme constitutes a



                                                 20
           Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 31 of 56




separate antitrust violation.”); see also Cont’l Ore Co. v. Union Carbide & Carbon Corp., 370

U.S. 690, 699 (1962) (“[P]laintiffs should be given the full benefit of their proof without tightly

compartmentalizing the various factual components and wiping the slate clean after scrutiny of

each.”).

       1.       The Complaint Alleges that Facebook Maintained Its Monopoly Through the
                Acquisitions of Instagram and WhatsApp

       As the Complaint details, Facebook responded to the competitive threats posed by

Instagram and WhatsApp by acquiring them, rather than competing on the merits. As discussed

below, those acquisitions constitute anticompetitive conduct under Section 2. Facebook’s

arguments to the contrary, including that prior FTC review creates a higher pleading standard

and that Section 2 does not provide a basis for challenging acquisitions, are meritless.

                a) Facebook’s Acquisitions of Instagram and WhatsApp Constitute
                   Anticompetitive Conduct

       Contrary to Facebook’s assertion, see Mem. 23-26, Facebook’s acquisitions of Instagram

and WhatsApp are anticompetitive conduct under Section 2. Indeed, a monopolist’s acquisition

of a firm that poses a competitive threat to its monopoly is a core concern of Section 2, and is

exclusionary or anticompetitive conduct under Section 2. “[W]hatever the original source of a

monopoly, a monopolist’s acquisition of the productive assets or stock of an actual or likely

potential competitor is properly classified as anticompetitive, for it tends to augment or reinforce

the monopoly by means other than competition on the merits.” Phillip E. Areeda & Herbert

Hovenkamp, Antitrust Law: An Analysis Of Antitrust Principles And Their Application ¶ 701a

(4th ed. 2020) [hereinafter, Areeda & Hovenkamp] (“Historically and today, merging viable

competitors to create a monopoly is a clear §2 offense . . . .”); see also Grinnell, 384 U.S. at 576

(monopolist’s acquisition of three competitors were exclusionary conduct under Section 2);




                                                 21
        Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 32 of 56




Standard Oil, 221 U.S. at 79 (monopolist’s acquisitions violated Section 1 and Section 2); Sun

Newspapers, Inc. v. Omaha World-Herald Co., 713 F.2d 428, 429 (8th Cir. 1983) (upholding

preliminary injunction against dominant newspaper because its acquisition of potential

competitors in advertising circulars likely violated Section 2).

       Moreover, the threat eliminated by a monopolist’s acquisition need not be fully

developed or even in the same relevant market. As the Court of Appeals held in Microsoft,

“[n]othing in §2 of the Sherman Act limits its prohibition to actions taken against threats that are

already well-developed enough to serve as present substitutes.” 253 F.3d at 54; see also

LePage’s, 324 F.3d at 159. The Microsoft court explained that “it would be inimical to the

purpose of the Sherman Act to allow monopolists free reign to squash nascent, albeit unproven,

competitors at will[.]” 253 F.3d at 79.

       The Complaint pleads in detail how Facebook targeted Instagram and WhatsApp for

acquisition because of the threats they posed to Facebook’s dominant position in PSN services.

See Compl. ¶¶ 79-81, 113-14. It also describes, with reference to numerous business records and

other specific factual allegations, why each was a threat: Instagram as an upstart PSN competitor,

see id. ¶¶ 84, 87, 89-93, and WhatsApp as a potential entrant into PSN services, see id. ¶¶ 108-

14, 118. And it details the harm to the competitive process that the acquisitions entail, and the

resulting loss of competitive benefits to users of PSN services. See id. ¶¶ 16, 20-21, 27, 105,

127, 161-63. Contrary to Facebook’s claims, these allegations neither posit a novel theory of

Section 2 liability, nor suggest that Facebook is a monopolist on account of “a superior product.”

Mem. 23, 31. Instead, these allegations allege conduct at the core of Section 2’s concern: that a

monopolist will eliminate competitive threats to its position by means other than competing with




                                                 22
         Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 33 of 56




them on the merits. See Microsoft, 253 F.3d at 62, 65 (conduct is “anticompetitive” when it

hinders competitive threats through “means other than competition on the merits”).

        Facebook inaccurately suggests, without citation to authority, that Section 2 might

require the FTC to prove the threats extinguished by the Instagram and WhatsApp acquisitions

were unique. See Mem. 33, 36. Such a novel rule would contradict Microsoft, in which the

Court of Appeals found multiple acts by Microsoft directed at Netscape’s Navigator and Sun’s

Java to be unlawful, see 253 F.3d at 62, 76, despite the clear record below that they were not the

only middleware providers. U.S. v. Microsoft Corp., 84 F. Supp. 2d 9, 28 (D.D.C. 1999)

(“Microsoft was concerned with middleware as a category of software . . . . Microsoft focused

its antipathy on two incarnations of middleware . . . .”).

        Nor, contrary to Facebook’s suggestion, have courts said that a monopolist must shut

down an acquired firm’s assets for an acquisition to be “anticompetitive” under Section 2. Mem.

32. Numerous monopolists have violated Section 2 by acquiring rivals and continuing to operate

the assets. See e.g., Grinnell, 384 U.S. at 566-67, 576 (referencing continued operation of

acquired firms); Standard Oil, 221 U.S. at 33, 72-77 (defendant continued to operate some of the

acquired oil refineries).

                b) The Complaint Provides Detailed Allegations that Facebook’s
                   Acquisitions of Instagram and WhatsApp Caused Anticompetitive Effects

        Facebook inaccurately suggests that the Complaint does not adequately allege

“anticompetitive effect[s],” Mem. 24, or a “cognizable or plausible claim of consumer harm,”

Mem. 25. It also posits that a monopolist’s acquisition of a “fledgling competitor” may provide

“obvious” benefits to consumers. Mem. 31. These assertions are without merit.

        As Facebook acknowledges, conduct has an “anticompetitive effect” when it “harm[s] the

competitive process.” Mem. 24. As the Court of Appeals and other courts have held, a



                                                 23
        Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 34 of 56




monopolist’s conduct harms the competitive process, and has an anticompetitive effect, when the

conduct eliminates or disrupts the emergence of competitors on the basis of something other than

merits competition. See Microsoft, 253 F.3d at 65; LePage’s, 324 F.3d at 167. As described

above, the Complaint details how Facebook disrupted the competitive process by acquiring

threats to its monopoly position (Instagram and WhatsApp), rather than outcompeting them or

providing a better service. See supra § I.B.1.a; see also Grinnell, 384 U.S. at 568-71; Areeda &

Hovenkamp ¶ 701a; FTC v. Actavis, Inc., 570 U.S. 136, 157 (2013) (“Prevent[ing] the risk of

competition . . . constitutes the relevant anticompetitive harm.”).

       Contrary to Facebook’s suggestion, see Mem. 4, 25, Section 2 does not require a plaintiff

to further show a change in price or output, or other specific change in consumer benefits,

flowing from the conduct, particularly when the dominant firm targets nascent threats.

Consumer harm flows inherently from a monopolist’s maintenance of its position through

conduct that is not merits competition. See Microsoft, 253 F.3d at 58 (defining exclusionary

conduct as conduct that has an “anticompetitive effect,” meaning it “harm[s] the competitive

process and thereby harm[s] consumers”) (italics in original, bolded emphasis added). In

Microsoft, for example, the Court of Appeals did not separately consider consumer harm or

changes in market outcomes after determining that Microsoft’s conduct impaired the ability of

significant competitive threats (Netscape’s Navigator and Sun’s Java) to compete with it. See

Microsoft, 253 F.3d at 65, 67; see also United States v. Dentsply, 399 F.3d 181, 191-96 (3d Cir.

2005) (anticompetitive effect of monopolist’s conduct was blocking growth of smaller rivals);

LePage’s, 324 F.3d at 158-63 (anticompetitive effect of monopolist’s conduct was foreclosing

ability of rival to compete, “which harmed competition itself”).




                                                 24
        Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 35 of 56




       As courts have recognized, the very nature of a monopoly maintenance claim is that the

monopolist has prevented competition from emerging, which means the conduct is often not

amenable to a showing of specific changes in market outcomes. See McWane, Inc. v. FTC, 783

F.3d 814, 839 (11th Cir. 2015) (upholding monopoly maintenance ruling and noting that a

dominant firm’s continued position of monopoly—rather than a showing of price increases—is

consistent with a showing of unlawful anticompetitive conduct); FTC v. Surescripts, LLC, 424 F.

Supp. 3d 92, 103 (D.D.C. 2020) (“Regardless of Surescripts’s specific above-market fees or

below-market incentives, the central question is whether the FTC alleged that Surescripts

engaged in exclusionary conduct that ‘harmed competition, not just a competitor,’ by blocking

entrants into the market.”) (internal citations omitted and emphasis added). For the same reason,

the Microsoft court held that a plaintiff need not prove “that a defendant’s continued monopoly

power is precisely attributable to its anticompetitive conduct,” as “neither plaintiffs nor the court

can confidently reconstruct a product’s hypothetical technological development in a world absent

the exclusionary conduct . . . the defendant is made to suffer the uncertain consequences of its

own undesirable conduct.” Microsoft, 253 F.3d at 79 (quotation marks omitted).

       None of Facebook’s cited cases are to the contrary. See Mem. 4, 31, 33-34. Most of

Facebook’s supporting cases involve Section 7 of the Clayton Act, 15 U.S.C. § 18, not Section 2

of the Sherman Act, and as discussed below, Section 2 and Section 7 create distinct causes of

action. See infra § I.B.2.d. Those cases that do analyze Section 2 standards merely indicate that

a plaintiff must allege harm to competition, which the Complaint does. Plaintiffs have prevailed

where they explained how defendants suppressed competition, see Dresses for Less, Inc. v. CIT

Grp./Commercial Services, Inc., 2002 WL 31164482, at *12-13 (S.D.N.Y. Sept. 30, 2002);

Broadcom Corp. v. Qualcomm Inc., 501 F.3d 297, 317-18 (3d Cir. 2007), and lost where they did




                                                 25
        Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 36 of 56




not, see Eastman v. Quest Diagnostics Inc., 2016 WL 1640465, at *9 (N.D. Cal. Apr. 26, 2016),

aff’d 724 Fed. App’x 556 (9th Cir. 2018); Brooke Grp. Ltd. v. Brown & Williamson Tobacco

Corp., 509 U.S. 209, 224 (1993); Nat’l ATM Council, Inc. v. Visa Inc., 922 F. Supp. 2d 73, 87

(D.D.C. 2013).

       Regardless, the Complaint details the harm to consumers stemming from Facebook’s

neutralization of the competitive threats posed by Instagram and WhatsApp, including the loss of

alternative suppliers, the loss of a competitive check on Facebook, and the loss of additional

sources of innovation and competitive decision-making. See Compl. ¶¶ 27, 105, 127, 163. And

it details the seriousness of the threat posed by each, and therefore their associated role in

contributing to the maintenance of Facebook’s monopoly. See id. ¶¶ 79-80, 84, 87, 89-93, 108-

14, 118, 126. This robustly states a claim. See Microsoft, 253 F.3d at 79 (causal connection to

monopoly established if conduct “reasonably appear[s] capable of making a significant

contribution to . . . maintaining monopoly power”); Areeda & Hovenkamp ¶ 701c (explaining

that a monopolist’s acquisition of even a “minor” rival is important).

       Finally, if Facebook is attempting to posit that the acquisitions were justified despite the

serious harm to the competitive process reflected in a monopolist acquiring competitive threats,

this is a factual argument that is not cognizable on a motion to dismiss. See BRFHH Shreveport,

LLC v. Willis Knighton Med. Ctr., 176 F. Supp. 3d 606, 624-25 (W.D. La. 2016) (rejecting

plaintiff’s justification defense as “better suited for a summary judgment motion”). Any such

claimed justification would face significant hurdles in any event. Horizontal Merger Guidelines

§ 10 (“Efficiencies almost never justify a merger to monopoly or near-monopoly.”); Areeda &

Hovenkamp ¶ 701h (“[A]n efficiency defense cannot be allowed in monopoly cases in the




                                                 26
        Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 37 of 56




absence of an overwhelming demonstration that substantial efficiencies are involved and either

cannot be achieved in other ways or will inevitably destroy the other firms.”).

               c) Prior HSR Review Does Not Bar this Action or Create a Heightened
                  Pleading Standard

       As Facebook concedes, the FTC has statutory authority to challenge acquisitions that it

previously reviewed pursuant to the HSR Act, 15 U.S.C. § 18a(i)(1). See Mem. 30

(acknowledging “savings clause providing that HSR ‘shall not bar’ other actions”). This

concession is dispositive. Facebook cites no legal authority indicating that prior HSR reviews of

Instagram and WhatsApp preclude the current action, or that prior HSR review imposes a

heightened pleading standard or requires allegations that the prior review was compromised. See

Mem. 28. Moreover, creating such novel rules would plainly frustrate Congress’s intent: the

HSR regime altered neither the Sherman Act nor the Clayton Act; it merely established reporting

requirements for acquisitions over a certain size to facilitate challenges to acquisitions that

threaten to violate those statutes. See 15 U.S.C. § 18a(f).

       Facebook suggests that, by not previously challenging the acquisitions, the FTC

determined it “was not reasonably foreseeable that the acquisitions were likely to substantially

lessen competition” in violation of Section 7 of the Clayton Act. Mem. 27. Beyond misstating

the standard for Section 7 liability, this is inaccurate because, as Facebook knows,1 FTC review

under the HSR Act does not constitute approval of a transaction under the Clayton Act, nor does




1
  Indeed, Facebook was specifically advised by the FTC after the closing of the Instagram
investigation that “[t]his action is not to be construed as a determination that a violation may not
have occurred” and the “Commission reserves the right to take such further action as the public
interest may require.” See Letter from FTC to Facebook Counsel (Aug. 22, 2012),
https://www.ftc.gov/sites/default/files/documents/closing_letters/facebook-inc./instagram-
inc./120822barnettfacebookcltr.pdf, Declaration of Daniel J. Matheson, Ex. A.



                                                 27
        Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 38 of 56




it limit the FTC’s ability to challenge a previously reviewed acquisition “at any time” under any

“provision of law.” 15 U.S.C. § 18a(i)(1).

       Thus, an agency decision not to challenge an acquisition has no probative value as to its

lawfulness. Steves & Sons, Inc. v. JELD-WEN, Inc., 988 F.3d 690, 714 (4th Cir. 2021)

(upholding the district court’s exclusion of evidence that the Department of Justice had twice

investigated the merger without challenging it because “many factors may motivate such a

decision, including the Department’s limited resources”) (citation omitted). Indeed, there are

numerous examples of the FTC or Department of Justice challenging consummated acquisitions

that were subject to the HSR Act. See, e.g., Complaint, FTC v. Cardinal Health, Inc., No. 15-cv-

3031 (S.D.N.Y. Apr. 20, 2015) (Section 2 claim challenging, inter alia, two consummated

acquisitions more than 10 years after HSR Act notifications); Complaint, United States v.

Parker-Hannifin Corp., No. 1:17-cv-01354-UNA (D. Del. Sept. 26, 2017) (challenging a

consummated merger despite prior notification under the HSR Act).

       In arguing for novel treatment in this case, Facebook mischaracterizes the case law. See

Mem. 28-29. For example, Eastman v. Quest Diagnostics Inc. does not stand for the proposition

that “prior FTC clearance weigh[s] against the conclusion that [an] acquisition could be plausibly

characterized as an unreasonable restriction on competition,” as the FTC did not clear the

acquisition in question, but required a divestiture to remedy competitive concerns. 2016 WL

1640465, at *9. Nor does Texaco Inc. v. Dagher stand for the proposition that prior FTC review

of an acquisition establishes a presumption that the acquisition is lawful. Mem. 28. In Texaco,

plaintiffs did not challenge the formation of a joint venture, and the court only presumed it was

lawful for purposes of focusing its review on plaintiffs’ price-fixing claim. 547 U.S. 1, 6

n.1 (2006).




                                                28
        Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 39 of 56




       Facebook’s reliance on Trinko is also inapposite. See Mem. 29. Trinko assessed whether

access requirements imposed by the Telecommunications Act of 1996 (“Telecommunications

Act”), an extensive regulatory scheme overseen by a different federal agency, created a new

antitrust duty for telecommunication firms to provide access to rivals. Verizon Commc’ns Inc. v.

Law Offices of Curtis V. Trinko LLP, 540 U.S. 398, 412-15 (2004). But the Court never

suggested that the Telecommunications Act precluded enforcement of the antitrust laws. And

further, it would be perverse to construe the HSR Act—a statute designed to enhance

enforcement of the antitrust laws—to preclude enforcement of those laws.

               d) Section 2 Provides an Independent Basis for Challenging the Acquisitions
                  of a Monopolist

       Facebook also makes an unsupported assertion that acquisitions that do not violate

Section 7 of the Clayton Act cannot be “exclusionary under the Sherman Act.” Mem. 27-28, 35

(citing Rothery Storage & Van Co. v. Atlas Van Lines, Inc., 792 F.2d 210, 220 (D.C. Cir. 1986)).

This argument is contrary to the plain language of the Clayton Act, which creates a distinct cause

of action and does not circumscribe Section 2 in any way. Indeed, Congress expressly

recognized Section 2’s applicability to acquisitions in amending Clayton Act Section 7 in 1950.

S. Rep. No. 81-1775, at 5 (1950) (“Under the Sherman Act, an acquisition is unlawful if it

creates a monopoly or constitutes an attempt to monopolize.”). No authority restricts the

application of Section 2 as it relates to acquisitions. Facebook’s cite to Rothery is inapposite as

that case merely discusses an analysis under Section 7; it says nothing about Section 2 or its

applicability to acquisitions. 792 F.2d at 220.

       As detailed above, Section 2’s application to acquisitions by monopolists is well

established, and Section 2 has its own elements—distinct from Section 7—that the Complaint

pleads in detail. See supra § I.B.1.a. Indeed, Section 2’s prohibition on unlawful acquisitions by



                                                  29
         Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 40 of 56




monopolists has continued even after passage of the Clayton Act in 1914, and subsequent

amendments to Section 7 in 1950. See, e.g., Grinnell, 384 U.S. at 576 (finding Section 2

violation involving acquisitions in 1966); BRFHH, 176 F. Supp. 3d at 622 (rejecting defendant’s

argument that an acquisition, without other anticompetitive conduct, does not violate Section 2);

Behrend v. Comcast Corp., 2012 WL 1231794, at *20 (E.D. Pa. Apr. 12, 2012) (“In Grinnell, the

Court held that acquiring competitors in order to perfect a monopoly is predatory conduct [in

violation of Section 2].”).

       Accordingly, Facebook errs in claiming that the FTC must allege facts meeting the

elements of the potential competition doctrine in Section 7 cases to challenge Facebook’s

acquisition of WhatsApp under Section 2. See Mem. 34-35. The potential competition doctrine

provides one framework to assess whether a merger violates Section 7, but it is not the only way

to establish a merger is unlawful under the antitrust laws. See C. Scott Hemphill & Tim Wu,

Nascent Competitors, 168 U. Pa. L. Rev. 1879, 1896-901 (2020). As noted above, Microsoft

explained that Section 2 reaches conduct directed at competitive threats even if they do not

participate in the relevant market. See supra at 22. The Court of Appeals did not assess those

threats (Netscape’s Navigator and Sun’s Java) under the Section 7 standard or make any finding

that those threats were imminently about to enter the relevant market or displace Microsoft’s

dominant position (as Facebook suggests is necessary here). See Microsoft, 253 F.3d at 54 (“Nor

is middleware likely to overtake the operating system as the primary platform for software

development any time in the near future.”). In any event, while no such showing is necessary to

support the FTC’s Complaint, the Plaintiff States explain how Facebook’s acquisitions of

Instagram and WhatsApp also raise claims for relief under Section 7. See States’ Mem. in Opp.




                                                30
        Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 41 of 56




to Facebook’s Mot. to Dismiss, New York v. Facebook, Inc., No. 1:20-cv-03589-JEB, at § IV

(D.D.C. Apr. 7, 2021).

       2.      The Complaint Alleges that Facebook Maintained Its Monopoly Through Its
               Platform Policies

       As alleged in the Complaint, Facebook’s anticompetitive efforts to maintain its monopoly

position include announcing and enforcing anticompetitive conditions on access to its valuable

Platform interconnections in order to deter the emergence of competitive threats. See Compl. ¶¶

22-26, 129-30. Facebook incorrectly maintains that this conduct is immune and cannot be

challenged “as a matter of law.” Mem. 36.

               a) Facebook’s Platform Policies Constitute Unlawful Conditional Dealing

       Facebook starts by suggesting that its Platform conduct is controlled by a “clear, general

no-duty-to-deal rule” established in Trinko. Mem. 36. This assertion, however, overlooks that

the Complaint does not simply allege that Facebook refused to provide competitors with access

to its Platform, but rather that Facebook conditioned access to its Platform on trading partners

not competing with it or assisting competitors. See Compl. ¶¶ 142-43.

       Conditional dealing by a monopolist—which was not at issue in Trinko—violates Section

2 when it has an anticompetitive effect or tendency and contributes to the maintenance of

monopoly power. See Lorain Journal, 342 U.S. at 152-53; Covad Commc’ns Co. v. Bell Atl.

Corp., 398 F.3d 666, 675-76 (D.C. Cir. 2005). Conditional dealing encompasses a monopolist’s

inducement of trading partners or other firms not to compete with it or do business with its rivals,

by conditioning access to some resource of the monopolist. See Lorain Journal, 342 U.S. at 152-

53.

       In Lorain Journal, for example, the Supreme Court held that a monopolist newspaper

engaged in anticompetitive conduct by conditioning the sale of its newspaper advertising on



                                                31
        Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 42 of 56




customers’ agreements not to purchase advertising from a local radio station. The Court found

that the newspaper “use[d] its monopoly to destroy threatened competition” by inducing

advertisers not to deal with the radio station. Id. at 152-54. Likewise, in Covad, the Court of

Appeals held that a monopolist could violate Section 2 by refusing to sell internet service to

would-be customers who had placed orders for internet service with the monopolist’s rival. 398

F.3d at 675-76 (reversing motion to dismiss).

       Here, Facebook worked to deter the emergence of competitive threats by granting third

parties full access to its Platform only on the condition that they not threaten its monopoly by:

(1) providing PSN services, (2) providing mobile messaging functions, (3) providing promising

social functionality, or (4) connecting with or promoting other PSN providers. See Compl. ¶¶

136, 153-56. Given the value of Facebook’s Platform interconnections, see id. ¶¶ 130-32, 158,

Facebook’s denial of access to its Platform on these conditions was a meaningful inducement to

app developers to avoid competing with Facebook or aiding its competitors. Cf. Lorain Journal,

342 U.S at 183-84 (newspaper’s inducement effective because of its advertising reach).

       Facebook disputes that this conduct “unreasonably harmed competition.” Mem. 38-39.

That factual dispute is not appropriately resolved on a motion to dismiss. Moreover, it ignores

the specific factual allegations in the Complaint that Facebook’s own employees recognized that

Facebook introduced these policies to suppress competition. See Compl. ¶ 140. The Complaint

also details how Facebook enforced these conditions to throttle the growth of specific “promising

apps” that provided PSN services, id. ¶ 153 (discussing Path) or some social functionality, see id.

¶¶ 154-55 (discussing Circle and Vine), as well as mobile messaging apps, see id. ¶ 156. By

enforcing its policies, Facebook reinforced the impact of the conditions it imposed on app

developers. Cf. Lorain Journal, 342 U.S. at 149 (noting that the defendant’s “bold, relentless,




                                                 32
        Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 43 of 56




and predatory commercial behavior” included its termination of advertising contracts with those

advertisers who violated its conditions).

       Further, the Complaint explains how the Platform conditions deter app developers from

entering the PSN service market, see Compl. ¶ 137, from providing mobile messaging services,

which can provide a springboard for future entry into the PSN services market, see id., and from

providing valuable information to other PSN services providers. See id. ¶ 140. The foregoing

readily articulates anticompetitive conduct, just as in Lorain Journal and Covad. See Microsoft,

253 F.3d at 62, 65 (conduct is anticompetitive under Section 2 when it impedes the growth of

rivals on the basis of something other than competing on the merits).

       Facebook’s other arguments lack merit as well. First, Facebook’s bald assertion that its

conduct was “plainly reasonable and not irrational” conflicts with Lorain Journal and Covad,

and is an attempt to dispute the facts as alleged. Second, Facebook invents a requirement that

conditional dealing by a monopolist is only actionable if the monopolist had “monopoly power”

over the impacted trading partners (here, developers). Mem. 38. No such requirement appears

in Lorain Journal or Covad, and the logic of the cases does not support imposing one. A

monopolist’s use of anything of value to induce trading partners not to compete with it is

anticompetitive. Cf. FTC v. Actavis, Inc., 570 U.S. 136, 157-58 (2013) (payments from

prescription drug manufacturers to generic drug manufacturers to induce the generics to delay

entry deemed actionable anticompetitive conduct that seeks to “prevent the risk of competition”).

And the Complaint details how Facebook Platform was a valuable inducement to developers.

See Compl. ¶¶ 130-32, 158.




                                                33
        Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 44 of 56




               b) Facebook’s Platform Conduct Is Also Actionable Under Trinko and
                  Aspen

       As explained, Facebook’s conditioning of access to its Platform is unlawful under Lorain

Journal. That alone is enough to sustain the Platform conduct allegations, particularly given that

they are part of an overall course of anticompetitive conduct and not a standalone claim. See

supra § I.B (case law discussing need to avoid compartmentalizing conduct). In any event, even

if treated as an unconditional refusal to deal, Facebook’s Platform conduct is actionable under

that framework, pursuant to the two leading cases, Trinko and Aspen.

       Contrary to Facebook’s suggestion, Mem. 36, “a refusal to cooperate with rivals can

constitute anticompetitive conduct and violate § 2.” Trinko, 540 U.S. at 408; Aspen Skiing Co. v.

Aspen Highlands Skiing Corp., 472 U.S. 585, 601 (1985) (“The high value that we have placed

on the right to refuse to deal with other firms does not mean that the right is unqualified.”). A

refusal to deal is “exclusionary” when it tends to “impair the opportunities of rivals” and “either

does not further competition on the merits or does so in an unnecessarily restrictive way.” Aspen

Skiing, 472 U.S. at 605 & n.32.

       The Supreme Court in Trinko and Aspen considered evidence of anticompetitive motive,

and the lack of a legitimate business justification, in assessing whether defendants’ conduct

constituted an unlawful refusal to deal. Specifically, in those cases, the Court considered

whether defendants engaged in a prior, voluntary course of dealing, and whether they forwent

benefits or other goodwill, as proxies for assessing the defendants’ “anti-competitive motivation,

along with its lack of legitimate business purpose for doing so.” In re Thalomid & Revlimid

Antitrust Litig., 2015 WL 9589217, at *15 (D.N.J. Oct. 29, 2015); see also Ball Mem’l Hosp.,

784 F. 2d at 1339 (intent indicates “whether the large firm seeks to exclude competition on a

‘basis other than efficiency’”) (quoting Aspen Skiing, 472 U.S. at 605).



                                                 34
         Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 45 of 56




        In Aspen, the defendant terminated a joint ski ticket, which provided skiers with an all-

access pass to the plaintiff’s and the defendant’s ski slopes, and subsequently frustrated the

plaintiff’s efforts to re-create the joint ski ticket by refusing to sell it tickets. See 472 U.S. at

593-94. In affirming that the defendant’s conduct was unlawful, the Court highlighted the

defendant’s refusal to sell tickets to the plaintiff even though doing so “would have provided it

with immediate benefits, and would have satisfied its potential customers.” Id. at 610. As a

result, the Court found the defendant “was not motivated by efficiency concerns and that it was

willing to sacrifice short-run benefits and consumer goodwill in exchange for a perceived long-

run impact on its smaller rival.” Id. at 610-11.

        Trinko applied this same approach, but found that the monopolist telecommunication

firm’s refusal to provide interconnection services to its rival was not actionable. Trinko, 540

U.S. at 415-16. The Court noted that, unlike in Aspen, there was no indication that the defendant

was motivated by “anticompetitive malice,” as it refused a request to provide an interconnection

service that it had a regulatory obligation to provide at a cost-based rate, but that it had never

provided voluntarily. Id. at 409.

        No proxies for anticompetitive motive are needed here, as Facebook’s anticompetitive

intent, and lack of business justifications, are plain from the fact that Facebook refused to

provide Platform access only to those app developers that competed with Facebook, threatened

to compete with Facebook, or aided Facebook’s competitors. See Compl. ¶¶ 136, 152-56.

Likewise, Facebook’s contemporaneous documents expressly evidence its anticompetitive

motive. See id. ¶ 140 (internal company document stating policy is “anti user” and sends

message Facebook “can’t compete on our own merits”); see also id. ¶¶ 144-45. These

allegations, alone, distinguish Facebook’s conduct from Trinko, and, consistent with Aspen,




                                                   35
         Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 46 of 56




show that Facebook’s practices are actionable anticompetitive conduct. See Thalomid, 2015 WL

9589217, at *15 (“Both [Aspen and Trinko] indicate that motivation is central.”).

        In any event, the Aspen proxies for anticompetitive motive are also present here.

Facebook’s voluntary provision of Platform access to all app developers before later revoking

the access of only those app developers who competed with or threatened Facebook, or aided

firms that competed with Facebook, see Compl. ¶¶ 130, 136-38, establishes a voluntary course of

dealing. See Trinko, 540 U.S. at 409. Further, as in Aspen, Facebook sacrificed “short-run

benefits and consumer goodwill.” 472 U.S. at 610-11. Facebook benefited by providing

Platform access to app developers, see Compl. ¶¶ 133-34, and its decision to forgo those benefits

to harm competition elucidates its anticompetitive intent. Compare Aspen Skiing, 472 U.S. at

608 (“The jury may well have concluded that Ski Co. elected to forgo these short-run benefits

because it was more interested in reducing competition in the Aspen market over the long run by

harming its smaller competitor.”), with Trinko, 540 U.S. at 409 (reluctance to interconnect under

regulatory mandate “tells us nothing about dreams of monopoly”).

        Facebook misconstrues controlling precedent by asserting that conduct cannot constitute

an anticompetitive refusal to deal unless the defendant is a monopoly provider of an input sold at

retail with a prior profitable course of dealing, or where the refusal is irrational but for its

anticompetitive effect. Mem. 36-37. As indicated above, Trinko and Aspen treated

circumstances like prior dealing and sacrifice of short-run benefits as proxies for anticompetitive

motive, but they did not indicate that those circumstances (which in any event are present here)

were always necessary, nor did they announce an “irrationality” test. See Viamedia, Inc. v.

Comcast Corp., 951 F.3d 429, 462-64 & n.13 (7th Cir. 2020) (stating the termination of a prior,

profitable course of dealing “is neither necessary nor sufficient for conduct to be exclusionary”




                                                   36
        Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 47 of 56




and doubting the need to show the refusal “was irrational but for its anticompetitive effect”);

Steward Health Care Sys., LLC v. Blue Cross & Blue Shield of Rhode Island, 311 F. Supp. 3d

468, 483 (D.R.I. 2018) (stating that “confusion” over Aspen and Trinko can result from

“misread[ing] or deliberately extend[ing]” their holdings, including “construing them in a rigid

fashion to require, for example, an explicit prior course of dealing”). Further, with respect to

Facebook’s claims about defining an “input” market, Mem. 36-37, Facebook’s Platform—which

serves as a valuable “distribution channel” and “growth tool” for third-party apps, Compl. ¶¶

130, 132—directly parallels the valuable joint ski ticket in Aspen.

       Finally, Facebook’s asserted justifications are conclusory and premature. See Mem. 37-

38. Facebook cannot prevail on a motion to dismiss by making an unsubstantiated claim that it

imposed its policies or terminated Platform access to prevent freeriding. Viamedia, 951 F.3d at

460 (“[B]alancing anticompetitive effects against hypothesized justifications depends on

evidence and is not amenable to resolution on the pleadings[.]”). In fact, both cases cited by

Facebook involved motions for summary judgment, not motions to dismiss. Morris Commc’ns

Corp. v. PGA Tour, Inc., 364 F.3d 1288, 1296 (11th Cir. 2004) (noting defendant had burden of

establishing its business justification was valid); Consultants & Designers, Inc. v. Butler Serv.

Grp., Inc., 720 F.2d 1553, 1559, 1562 (11th Cir. 1983) (assessing defendants’ restrictive

covenant based on the specific facts of the case).

               c) Facebook Inaccurately Claims that Courts Have Ruled on Its Platform
                  Conduct

       As a final salvo, Facebook asserts that courts in California have already ruled on the

FTC’s allegations related to Facebook’s Platform policies, and dismissed “similar refusal-to-deal

claims” on grounds that Facebook has “a right to control its own product.” Mem. 38. Facebook,




                                                37
         Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 48 of 56




however, misconstrues these cases: no court has ruled that the Platform policies at issue here are

not actionable anticompetitive conduct as conditional dealing or as a refusal to deal.

        Indeed, only one of the cases that Facebook cites even discusses whether a claim is an

unlawful refusal to deal. In Reveal Chat, the court dismissed the complaint because it was time-

barred and because the plaintiffs failed to allege antitrust injury, not because Facebook’s conduct

could not, as a matter of law, constitute an unlawful refusal to deal. Reveal Chat Holdco LLC v.

Facebook, Inc., 471 F. Supp. 3d 981, 996, 998 (N.D. Cal. 2020). The court addressed the

plaintiffs’ refusal-to-deal claim only in dicta, stating that it did so “briefly” in order “to provide

Plaintiffs with guidance for their amended complaint.” Id. at 998. The court did not address

whether the conduct at issue constituted conditional dealing.

        The other cases Facebook references do not apply conditional dealing or refusal-to-deal

frameworks, and do not involve the Platform policies at issue here. See Sambreel Holdings LLC

v. Facebook, Inc., 906 F. Supp. 2d 1070, 1080-82 (S.D. Cal. 2012) (assessing group boycott and

tying claims); Facebook, Inc. v. Power Ventures, Inc., 2010 WL 3291750, at *13-14 (N.D. Cal.

July 20, 2010) (dismissing counterclaim for failure to show how prohibitions against users

logging in through third parties and retrieving their data via automated means was

anticompetitive). Thus, these cases do not suggest that the FTC’s Complaint is deficient.

II.     THE COMPLAINT ESTABLISHES THE FTC’S AUTHORITY TO FILE THIS
        SUIT

        Congress empowered the FTC to seek a preliminary or permanent injunction in federal

court when the Commission “has reason to believe” that (1) a defendant “is violating, or is about

to violate” any provision of law enforced by the FTC, and (2) such an injunction “would be in

the interest of the public.” 15 U.S.C. § 53(b) (hereinafter, “Section 13(b)” of the FTC Act).

Facebook inaccurately asserts that the Complaint fails to satisfy the first of these requirements,



                                                  38
          Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 49 of 56




Mem. 39-44, ignoring the Complaint’s factual allegations that Facebook “is violating” Section

5(a) of the FTC Act, 15 U.S.C. § 45(a), by monopolizing PSN services.

         Facebook’s attack on the Commission’s authority to bring this suit fails for two reasons.

First, the FTC Act vests the Commission with the discretion to decide it “has reason to believe”

that Facebook is violating or about to violate the law. Second, the Complaint plainly alleges

facts supporting the Commission’s reason to believe that Facebook is violating Section 2 of the

Sherman Act via an ongoing course of anticompetitive conduct.

    A.      Section 13(b) Empowers the FTC to Sue in Federal Court When the Commission
            “Has Reason to Believe” a Defendant Is Violating the Law

         The plain language of the FTC Act invests the Commission, not federal courts, with

discretion to determine it “has reason to believe” a defendant is violating or about to violate the

antitrust laws. FTC v. Hornbeam Special Situations, LLC, 391 F. Supp. 3d 1218, 1222-23 (N.D.

Ga. 2019); FTC v. Vyera Pharm., LLC, 479 F. Supp. 3d 31, 43-44 (S.D.N.Y. 2020). In

Hornbeam, the FTC alleged that a violation had ceased but was likely to recur, and the defendant

filed a motion to dismiss on Section 13(b) grounds. 391 F. Supp. 3d at 1222-23. The court

denied the defendant’s motion, holding that Section 13(b) conferred discretion on the FTC and

that the FTC’s “reason to believe” determination could not be reviewed. Id. (describing “the

FTC’s internal standard argument” as “persuasive.”). As such, the court concluded that the

complaint did not warrant dismissal on Section 13(b) grounds where it “set[] forth at least some

facts to support a reasonable inference” that the defendant was about to violate the law. Id.

(emphasis added). Similarly, in Vyera, the court denied a motion to dismiss on Section 13(b)

grounds, noting that “the FTC does contend that the defendants are currently engaged in

violations of federal antitrust laws, or, at the very least, that it has sufficient ‘reason to believe’

that the defendants are engaging in violations of federal antitrust laws.” 479 F. Supp. 3d at 44.



                                                   39
        Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 50 of 56




       The Hornbeam and Vyera courts’ holdings that the “reason to believe” language of

Section 13(b) vests discretion in the FTC duplicates the rule that courts apply to identical

language in a different section of the FTC Act. In Standard Oil Co. v. FTC, 596 F.2d 1381, 1383

(9th Cir. 1979), rev’d on other grounds, 449 U.S. 232 (1980), the court addressed Section 5(b) of

the FTC Act, 15 U.S.C. § 45(b), which authorizes the FTC to issue an administrative complaint

“[w]henever the Commission shall have reason to believe” that a defendant “has been or is using

any unfair method of competition or unfair or deceptive act or practice.” Id. at 1383, n.1. The

court held that “what constitutes ‘reason to believe’ is unreviewable because the ‘reason to

believe’ determination is committed to the FTC’s discretion.” Id.

       Courts considering Administrative Procedure Act challenges have likewise held that the

FTC has discretion to determine that it “has reason to believe” a violation is or is about to occur

under Section 13(b), or that a defendant “has been or is using” an unfair method of competition

in violation of Section 5(b). FTC v. Nat’l Urological Grp., Inc., 2006 WL 8431977, at *3 (N.D.

Ga. Jan. 9, 2006) (holding that Section 13(b)’s language “do[es] not furnish the court with a

meaningful standard by which to measure the lawfulness” of FTC’s determination to file suit);

Boise Cascade Corp. v. FTC, 498 F. Supp. 772, 779, n.3 (D. Del. 1980) (FTC’s determination

that it has “reason to believe” under Section 5(b) is “not reviewable.”); cf. Board of Trade v.

CFTC, 605 F.2d 1016 (7th Cir. 1979) (statute authorizing the Commodities Futures Trading

Commission to take certain actions “whenever it has reason to believe that an emergency exists”

conferred unreviewable discretion on the agency) (quoting 7 U.S.C. § 12a(9)).

       Facebook relies heavily on FTC v. Shire ViroPharma, Inc., 917 F.3d 147 (3d Cir. 2019),

but that case neither undermines the authority discussed above, nor supports Facebook’s effort to

dismiss the FTC’s Complaint. It does not undermine the above-cited authority because the Shire




                                                 40
         Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 51 of 56




court expressly declined to consider whether Section 13(b)’s “reason to believe” language

confers discretion on the agency, as the FTC had not raised the issue before the district court.

See id. at 159 n.17. And Shire does not support Facebook’s argument here, because the Shire

defendant had sold off the assets that were the subject of the alleged conduct prior to the filing of

the suit, and thus there was “no evidence” that might provide a reason for the FTC to believe the

defendant “is violating” the law. Id. at 159 n.17 (emphasis added). Indeed, in Shire, the FTC

candidly admitted that it did not have a reason to believe Shire “is violating” the law, and that the

only question was whether Shire was likely to do so in the future. Id. at 150. In this case, by

contrast, “the FTC does contend that the defendants are currently engaged in violations of federal

antitrust laws.” Vyera, 479 F. Supp. 3d at 44.

   B.      The Complaint Alleges an Ongoing Monopolization Offense

        The monopoly that Facebook’s anticompetitive conduct has maintained persists to this

day. See Compl. ¶¶ 2, 64, 170. To the FTC’s knowledge, no court has ever dismissed on

Section 13(b) grounds a complaint that seeks to enjoin an ongoing monopoly that the FTC

alleges “is violating” the law. Cf. Surescripts, 424 F. Supp. 3d at 100 (FTC “sufficiently pleads a

‘proper’ case for a permanent injunction under Section 13(b)”). Facebook relies in part on dicta

from FTC v. Qualcomm Inc., 969 F.3d 974 (9th Cir. 2020), Mem. 40, but that case is inapposite.

In Qualcomm, after a full trial, the Ninth Circuit held that certain exclusive dealing arrangements

had not “substantially foreclose[d] competition,” noting that, regardless, the agreements were

terminated, and thus would not require injunction because they posed no “current or future threat

of anticompetitive harm.” 969 F.3d at 1004-05.

        Further, Facebook’s course of anticompetitive conduct is ongoing and persists to this day.

From the moment the Instagram and WhatsApp acquisitions were consummated, through today,




                                                 41
        Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 52 of 56




Facebook’s control of these companies has prevented them from challenging Facebook Blue’s

dominance, or from being acquired by third parties that might have done so. See Compl. ¶¶ 71-

72, 102, 105, 126-27. Furthermore, because of the network effects barrier to entry, Facebook’s

control of Instagram and WhatsApp “maintains a protective ‘moat’” that deters and hinders

competition and entry in PSN services. Id. ¶¶ 105, 127. Indeed, as the Complaint alleges, every

day, Facebook makes choices about how Instagram and WhatsApp will operate to foreclose

competition and protect its monopoly position, including by managing them to limit adverse

impact on, and to insulate, Facebook Blue. See id. ¶¶ 102-03, 126.

       Facebook’s course of conduct also includes its anticompetitive conditioning of access to

its Platform. See Compl. ¶¶ 129-60. Facebook “suspended” enforcement of these conditions in

December 2018 in the face of heightened public scrutiny of its anticompetitive treatment of

developers. Id. ¶¶ 148-49. But it has not terminated or disavowed the relevant policies, and can

cut off any application’s access to valuable Platform interconnections at any time. The

Complaint alleges that, unless enjoined, Facebook is likely to resume enforcing its

anticompetitive conditions once the current scrutiny has passed. See id. ¶¶ 29, 149, 172. Finally,

the Complaint alleges that Facebook “continues to monitor the industry for competitive threats,

and likely would seek to acquire” such threats. Id. ¶ 172.

       Facebook ignores that the Complaint alleges a course of conduct, attempting instead to

treat each alleged element of the course of conduct as a discrete occurrence disconnected from

all of the others. As discussed above, this is inappropriate. See supra § I.B. But Facebook’s

arguments with respect to each element also fail. Facebook argues that the Complaint alleges

only “past conduct” with respect to Instagram and WhatsApp, rather than ongoing antitrust

violations. Mem. 42. This argument fails because there is ample authority that continued




                                                42
        Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 53 of 56




possession of a firm or assets that were acquired in violation of the antitrust laws represents a

continuing violation of the antitrust laws.

       For example, in United States v. ITT Continental Baking Co., 420 U.S. 223 (1975), the

government alleged that defendant ITT, a baking-goods company, acquired assets in several rival

bakeries in violation of an FTC consent order prohibiting such acquisitions. See id. at 228. The

government sought daily penalties based on ITT’s continued holding of the acquired assets. See

id. at 229. The defendant resisted the imposition of ongoing penalties by arguing, as Facebook

does here, that an acquisition consists only of the initial act of purchase, not the ongoing holding

of the acquired assets. See id. at 233. The Supreme Court rejected this argument and held that

ITT’s continued holding of a competing bakery was an ongoing violation of the order at issue.

Relying on Section 7 of the Clayton Act, which prohibits anticompetitive acquisitions, 15 U.S.C.

§ 18, the Court held that an acquisition “means holding as well as obtaining assets.” ITT

Continental Baking Co., 420 U.S. at 240.

       The Supreme Court and at least one court of appeals have reached similar conclusions in

other cases. See du Pont, 353 U.S. at 597 (“[T]he Government may proceed at any time that an

acquisition may be said with reasonable probability to contain a threat that it may lead to a

restraint of commerce or tend to create a monopoly of a line of commerce.”); FTC v. Western

Meat Co., 272 U.S. 554, 559 (1926) (“Further violations of the act through continued ownership

could be effectively prevented only by requiring the owner wholly to divest itself of the stock

and thus render possible once more free play of the competition which had been wrongfully

suppressed.”), cited in California v. American Stores, 495 U.S. 271, 285 n.11 (1990); Gottesman

v. General Motors Corp., 414 F.2d 956, 965 (2d Cir. 1969) (“[T]he very acquisition and position

of potential control which was found violative of the Clayton Act as of 1949 [in du Pont]




                                                 43
         Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 54 of 56




continued through 1961.”); United States v. Schine, 260 F.2d 552, 556 (2d Cir. 1958) (“[I]t is the

maintenance of conditions in violation of the decree [prohibiting acquisitions, among other

things] which is the charge against the respondents.”). The reasoning in ITT Continental and

these other cases is just as applicable to acquisitions that violate the Sherman Act as it is to those

that violate the Clayton Act.

       Facebook seeks to counter this well-supported and common-sense interpretation by

pointing to several cases, none of which is applicable here. Unlike ITT Continental and the other

cases discussed above, the cases Facebook cites did not involve the scope of a federal

government enforcer’s authorization to bring suit in federal court. Rather, Facebook’s cases

considered a fundamentally different question: whether suits brought by private plaintiffs were

timely under the statute of limitations, which does not apply to the federal government. Mem.

42-43 (citing Reveal Chat, Z Techs., and Concord Boat). The answer to that question has no

bearing on the Section 13(b) question. Indeed, the very fact that the FTC is not subject to the

Sherman Act’s statute of limitations shows that Congress intended for a different standard to

apply to the FTC than to private plaintiffs. Furthermore, unlike in the cases Facebook cites, the

Complaint here alleges far more than the mere continued ownership of Instagram and WhatsApp.

As discussed above, the Complaint details Facebook’s continued active control over Instagram

and WhatsApp and how that control hinders competition in PSN services today.

       Finally, Facebook argues that its anticompetitive conditioning of API access is “past

conduct” because “the challenged Facebook Platform policies . . . have not been in effect since

2018.” Mem. 43. This argument ignores the Complaint’s allegations that the current suspension

of Facebook’s conditioning activities occurred on the eve of public release of certain inculpatory

documents and is merely a temporary pause while Facebook waits for the furor around its




                                                  44
        Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 55 of 56




anticompetitive activity to die down, and for this case to go away. See Compl. ¶¶ 29, 148-49.

The law is clear that courts need not conclude that a defendant’s illegal behavior is over simply

because it has stopped for a time, particularly when the defendant retains the ability and

incentive to resume the conduct. See, e.g., FTC v. Accusearch, Inc., 570 F.3d 1187, 1202 (10th

Cir. 2009) (approving injunctive action where the defendant “had the capacity to engage in

similar unfair acts or practices in the future”) (citation omitted); In re Sanctuary Belize, 482 F.

Supp. 3d 373, 467 (D. Md. 2020) (granting permanent injunction under Section 13(b) after

considering, among other things, “whether defendant is positioned to commit future violations,”

“defendant’s recognition of culpability,” and “the sincerity of defendant’s assurances against

future violations”) (citation omitted). Facebook cites no law that contradicts this point.

       Contrary to Facebook’s characterizations, the FTC does not argue that it “can bring all

Section 2 cases in federal district court.” Mem. 44. The FTC acknowledges that Section 13(b)

does not authorize suit in federal court when the Commission lacks reason to believe that a

defendant’s violation is ongoing or about to occur. But that simply is not the case here, where

the Complaint plainly reflects the Commission’s reason to believe that Facebook is violating the

law. The fact that Facebook’s illegal conduct began many years ago does not undermine the

Commission’s reason to believe that Facebook’s violation is ongoing. See Vyera, 479 F. Supp.

3d at 44 (“The FTC is not required to bring suit at the exact moment contractual negotiations

ripen into executed contracts. It is the extant scheme that provides the basis for the lawsuit.”).

                                          CONCLUSION

       Facebook’s Motion to Dismiss should be denied for the reasons set forth above.




                                                 45
        Case 1:20-cv-03590-JEB Document 59 Filed 04/07/21 Page 56 of 56




Dated: April 7, 2021                    Respectfully submitted,

                                        /s/ Daniel Matheson
                                        Daniel Matheson, Esq. (D.C. Bar 502490)
                                        Patricia Galvan
                                        Krisha Cerilli (D.C. Bar 983281)
                                        Robert Zuver (D.C. Bar 987216)
                                        Maria Dimoscato (D.C. Bar 489743)
                                        Eric Cochran (D.C. Bar 981148)
                                        Henry Hauser (D.C. Bar 1614882)
                                        Mitchell London (D.C. Bar 1029408)
                                        Owen Masters (D.C. Bar 242139)
                                        Michael Mikawa
                                        Noel Miller (D.C. Bar 1026068)
                                        David Owyang
                                        Mark Silvia
                                        Michael Smith (D.C. Bar 996738)
                                        Rebecca Weinstein
                                        Sylvia Zhang

                                        Federal Trade Commission
                                        Bureau of Competition
                                        400 Seventh Street, S.W.
                                        Washington, D.C. 20024
                                        Telephone: (202) 326-2075
                                        Email: dmatheson@ftc.gov

                                        Attorneys for Plaintiff
                                        Federal Trade Commission




                                      46
